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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK


 In re
                                                  MASTER DOCKET
 CUSTOMS AND TAX ADMINISTRATION                   18-md-2865 (LAK)
 OF THE KINGDOM OF DENMARK
 (SKATTEFORVALTNINGEN) TAX
 REFUND SCHEME LITIGATION



                    EXPERT REPORT OF ADAM L. WARREN
                     __________________________________
                               Adam L. Warren
                              December 31, 2021




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1.         Qualifications
1.      I am a Managing Director in NERA’s Securities and Finance Practice. I began my career

        as a broker and trader and have over 35 years of broad experience in the financial

        services industry.

2.      I completed both my graduate and undergraduate studies at the University of Chicago. I

        earned an M.B.A. in finance from the University of Chicago Graduate School of

        Business, and I earned an A.B. in United States History from the College of the

        University of Chicago. My graduate studies focused on financial markets and complex

        financial instruments. My experiences as a broker, trader, business advisor and consultant

        over the past 35 years includes working with numerous firms on trading, investment,

        operational, valuation and risk management issues for a wide variety of clients. I have

        assisted more than 15 securities and derivative exchanges, as well as numerous

        corporations, banks, brokerages, clearinghouses, investment funds and investment

        management companies globally. I have been an advisor to the securities, futures and

        options industries for over 30 years and have consulted for numerous brokers, futures and

        options firms, exchanges, clearing houses, hedge funds and commodity trading advisors,

        as well as users of securities and futures and options for hedging and speculation. I have

        held both the Series 3 and Series 7 brokerage licenses allowing me to broker and trade

        futures, options and securities.

3.      In addition, I have been hired as a consultant and expert witness in investigations taking

        place in numerous federal, state and local jurisdictions. I have also been an expert for

        several arbitrations in front of financial services industry Self-Regulatory Organizations

        (“SROs”). I have presented at industry conferences and events and authored numerous



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        articles on risk management and financial and commodity markets. My curriculum vitae,

        which includes a list of publications authored by me and the cases in which I have

        testified as an expert witness or by deposition, is attached as Exhibit A.

2.         Scope and Approach
4.      I, along with my team at NERA, have been retained by legal counsel for Acer Investment

        Group, LLC (“Acer”) and ED&F Man Capital Markets Ltd. (“ED&F Man”) in

        connection with lawsuits filed by the Customs and Tax Administration of the Kingdom of

        Denmark (“SKAT”) against certain pension plans (listed in paragraph 6 below) and Acer,

        in which ED&F Man is a Third-Party Defendant.

5.      The purpose of our retention is to examine the certain trading documentation related to

        transactions executed on behalf of certain pension plans to determine whether the pension

        plans for whom Acer acted as authorized agent, using ED&F Man as broker-custodian,

        acquired certain Danish securities and whether dividends on those shares were received

        and credited to those pension plans.

6.      The relevant pension plans whose transactions I examined are American Investment

        Group of NY LP (“AIGPP”), DW Construction Inc. Retirement Plan (“DWCPP”), The

        Goldstein Law Group PC 401(K) Profit Sharing Plan (“GLP”), Kamco Investments Inc.

        Pension Plan (“KIPP”), Kamco LP Profit Sharing Pension Plan (“KLLP”), Linden

        Associates Defined Benefit Plan (“LABP”), Moira Associates LLC 401K Plan

        (“MAPP”), Newsong Fellowship Church 401k Plan (“NEWP”), and Riverside Associates

        Defined Benefit Plan (“RABP”) (the “Acer Plans” and each a “Plan”).

7.      Counsel provided my team and me with documents for each of the trades in our analysis.

        A full listing of the Bates numbers of these documents is included in Exhibit B.



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8.         I have reviewed contemporaneous documentation of 72 transactions executed by ED&F

           Man on behalf of the Acer Plans. Each of these 72 transactions included the production

           by ED&F of a “Tax Voucher.” Much of this documentation was provided to me in the

           form of “Trade Packs” compiled by counsel which contained documents that evidenced

           the trades underlying the Tax Vouchers.

9.         Of the 72 Tax Vouchers, I understand that ED&F Man listed 42 vouchers on “Annex E”

           to its Amended Defence1 to claims filed against it by SKAT in the High Court of Justice

           of England and Wales, Queen’s Bench Division, which the Acer Plans attached to their

           Third-Party Complaints against ED&F Man. Annex E contains two schedules.

               a. Schedule 1 to Annex E includes the Tax Vouchers for which ED&F Man

                   admitted in England that none of the purchased shares received a dividend

                   payment net of withholding tax.

               b. Schedule 2 to Annex E includes the Tax Vouchers for which ED&F Man

                   admitted in England that only a portion of the purchased shares received a

                   dividend payment net of withholding tax.

10.        The documents that I reviewed include:

               a. Written trade instructions provided to ED&F Man by Acer on behalf of the Acer

                   Plans for the purchase of shares;

               b. Trade confirmations of the instructed equity trades,2 including confirmations of

                   the transaction from the relevant inter-dealer broker and the confirmations

                   provided by ED&F Man to Acer;



1 See, e.g., In re Skatteforvaltningen Tax Refund Litigation, No. 18-md-2865 (S.D.N.Y.), ECF No. 226-15.
2 The Trade Packs that I reviewed also contained confirms of hedging transactions, but these hedge trades were not a focus of my

 review.


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               c. For each transaction, one or more SWIFT messages showing receipt of shares into

                    ED&F’s omnibus accounts at its sub-custodian banks, BNP Paribas and

                    Skandinaviska Enskilda Banken (“SEB”);

               d. The Plans’ ED&F Man Account Equity Statements showing the shares held by

                    the relevant Plan as of the ex-dividend date listed on the Tax Voucher;

               e. ED&F Man’s “dividend reconciliation sheets,” which reconcile the shares held in

                    the relevant ED&F omnibus or receivable accounts to the shares that had been

                    credited to each of the Plans’ accounts that traded in the relevant security and

                    calculates the dividend due on each holding;

               f. For shares other than those included on Annex E, records from SEB and BNP

                    omnibus accounts evidencing the receipt of the net dividend on the Tax Voucher;

               g. For shares other than those included on Annex E, confirmation of the receipt of a

                    dividend on the shares held by the Plans, including corporate action SWIFT

                    messages, emails evidencing market recall claims and payments, or both; and

               h. Screenshots of ED&F Man’s ShadowSuite system entries crediting the relevant

                    Plan’s cash account for the amount of the net dividend listed on the Tax Voucher.

3.           Summary of Conclusions
11.       Subject to the additional elaboration below,3 the documentation that I reviewed allowed

          me to draw the following conclusions. I reserve the right to change or modify any of my

          conclusions based upon the receipt of new or additional information.

               i. For each of the 72 Tax Vouchers produced by ED&F Man regarding the

                    transactions executed on behalf of the Acer Plans, ED&F Man executed a trade to


3 I attach as Appendix 1 a table that reconciles key information in each piece of documentation that I reviewed for each trade.




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                   acquire the shares described on the Tax Voucher before the ex-dividend date.

                   Each of these transactions was requested of ED&F Man by Acer on behalf of the

                   Acer Plans.4

               j. For each of the 72 Tax Vouchers produced by ED&F Man regarding the

                   transactions executed on behalf of the Acer Plans, the shares remained in the

                   relevant Plan’s account at least until the ex-dividend date.

               k. For the 30 Non-Annex E Tax Vouchers and for the 5 Tax Vouchers listed on

                   Annex E - Schedule 2 (the portion of the shares that ED&F Man maintains a

                   dividend payment was received net of withholding tax) a dividend payment was

                   received by the Acer Plan identified on the respective Tax Voucher through its

                   custodian, ED&F Man.

                 i.          For each instance in which the equity transaction settled on or before the

                             record date for the dividend, ED&F Man received a dividend payment on

                             behalf of the relevant Plan for the shares contained in the relevant ED&F

                             Man omnibus sub-custodian account from the Danish issuer itself. In each

                             instance, this was reflected by a Message Type 566 SWIFT, meaning there

                             was distribution of cash to the shareholder (or, in this case, to the

                             shareholder’s custodian) as a result of corporate action. These MT566

                             SWIFT messages also reconciled with ledger entries from SEB and BNP,

                             other than the one instance where the MT566 was generated as

                             confirmation of a market claim settled by SEB as the sub-custodian.


4 As explained in further detail below, ED&F executed one transaction, a November 2014 transaction in Chr. Hansen Holding

 A/S stock, in which Acer provided written trade instruction on the ex-dividend date, but the trade confirmation nevertheless
 contains a trade date prior to the ex-dividend date. See ED&F-00026786, ED&F-00026791. For each of the other 71 Tax
 Vouchers and supporting documentation that I reviewed, the written client trade instruction was provided prior to the ex-
 dividend date.


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               ii.      For each instance in which the equity transaction settled after the record

                        date for the dividend, ED&F Man received, on behalf of the relevant Plan,

                        a payment for the dividend from the party from whom ED&F Man

                        acquired the shares for the relevant Plan. In each instance, this is reflected

                        by an email confirmation of the ceded dividend from the party from whom

                        ED&F acquired the shares.

        l.       For each of the 72 Tax Vouchers produced by ED&F Man regarding transactions

                 executed on behalf of the Acer Plans, ED&F credited the cash account of the

                 relevant Plan an amount equal to the “Amount Received” listed on the Tax

                 Voucher.

4.           Trade Documentation Review
11.     I have reviewed contemporaneous documentation of transactions underlying the 72 Tax

        Vouchers prepared by ED&F Man for the Acer Plans. Much of this documentation was

        provided to me in the form of “Trade Packs” compiled by counsel which evidenced the

        trades underlying the Tax Vouchers.

4.1.         Trade Requests and Instructions

12.     For each of the 72 Tax Vouchers, I identified and reviewed a written trade instruction

        from Acer on behalf of the Plan listed on the Tax Voucher. Although I have seen that the

        Risk Mandate for ED&F Man’s Structured Equity Finance Desk (the “Desk”) specified

        that the Desk could execute trades upon voice instructions from clients,5 it appears to




5 See ED&F-00395926.




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         have been the general practice of Acer to provide the Desk with a written trade

         instruction.

13.      In general, Stacey Kaminer of Acer Investment Group, the Plan’s Authorized Agent,

         originated the transactions with a request to buy Danish securities on behalf of the Plans.

         ED&F then executed the transactions and allotted the shares as directed by the

         Authorized Agent.

14.      In most instances, the first communication on the email chains that I reviewed was the

         Authorized Agent’s written trade request to ED&F.6 Those emails, among other things,

         expressed interest in acquiring a particular Danish security, specified the total number of

         shares requested and each Plan’s allocation among those shares, and requested that

         ED&F provide clearance, hedging, and liquidity for the equity purchases.

               a. For example, on August 7, 2014 Stacey Kaminer made the following request:7

                  The following accounts are interested in purchasing a total of 16,601,000 mil

                  shares of TDC, ISIN DK0060228559, T+2 and hedging their purchase by selling

                  Bclear futures. Can you provide clearance for these transactions? Also, the

                  accounts are looking for liquidity if you are able to source any please let them

                  know.

                      AIGPP AMERIC‐INVGR 3,400,000

                      DWCPP DW000‐CONST 3,400,000

                      KIPP KAMCO0‐INVES 3,500,000

                      KLPP KAMCO0‐LPPRO 2,901,000


6 Non-Annex E: Dec-13 Coloplast A/S; Mar-14 Novozymes A/S; Apr-14 Maersk A/S; Apr-14 Tryg A/S; Aug-14 TDC A/S; Dec-

  14 CHR A/S; Feb-15 Novozymes A/S; Annex E - Schedule 1: Mar-14 Danske Bank A/S; Mar-14 Novo Nordisk A/S; Mar-14
  TDC A/S; Apr-14 D/S Norden A/S; Apr-14 Maersk A/S; Apr-14 Tryg A/S; May-14 Coloplast A/S; Sep-14 IC Company A/S;
  Feb-15 Novozymes A/S; Annex E - Schedule 2: Mar-14 Danske Bank A/S; Mar-14 Novo Nordisk A/S; Mar-14 TDC A/S.
7 AIG TDC August 2014 ED&F-00042262-63.




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                       MAPP MOIRA0‐ASSOC 3,400,000

               b. In several instances, the email communications that I reviewed began with ED&F

                  notifying the Authorized Agent that there was liquidity in a Danish stock.8 For

                  example, on December 2, 2014, Sara Mina, an Equity Finance Trader at ED&F

                  Man, wrote to Stacey Kaminer:9

                  We have seen some very good liquidity in COLOB DC and were wondering if this

                  would be of interest. We’re being offered up to 4 million shares at 88.78, Would

                  this be of interest to you?

15.      The Authorized Agent would then reply to ED&F Man with any interest from the Acer

         Plans. In the December 2014 COLOB DC example above, Stacey Kaminer replied, “We

         are interested thanks,” and then provided an allocation schedule among the Plans:10

                  I am happy with the pricing please allocate to the following accounts:

                       1.5 mil AMERIC‐INVGR

                       350k GOLDST‐LAWGP

                       600k DW0000‐CONST

                       1.55 mil MOIRA0 ‐ASSOC

16.      With the exception of one trade,11 the written trade requests were made prior to the “ex-

         dividend date” or “ex-date,” and generally12 came 1-2 business days before the ex-date.13




8 Non-Annex E: Dec-14 Coloplast A/S; Mar-15 Danske Bank A/S; Mar-15 DSV A/S; Mar-15 Novo Nordisk A/S; Mar-15

 Pandora A/S; Mar-15 TDC A/S; Apr-15 Maersk A/S.
9 AIG COLOB December 2014 ED&F-00045537.
10 AIG COLOB December 2014 ED&F-00045536.
11 Dec-14 CHR: Trade Request appears to have been made the same day as the ex-date, Friday, November 28, 2014. The email

  from Stacey Kaminer (ED&F-00026786) states that the request was supposed to have gone out the previous day, Thursday,
  November 27, 2014 (Thanksgiving 2014 in United States), but “was overlooked as a possible trading day.”
12 Mar-15 Danske Bank A/S trade request made 4 business days before ex-date; Mar-15 Novo Nordisk A/S trade request made 5

  business days before Ex-Date.
13 The ex-date is the first date on which shares of a security trade without the right to an announced upcoming dividend.




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4.2.        Trade Confirmations

17.      For each of the 72 Tax Vouchers, I identified and reviewed trade confirmations or

         “confirms” for equity trades sent from ED&F Man to the Authorized Agent. The trade

         instruction and trade confirmation together form a securities trade.

18.      Equity trade confirmations are commonly evidenced by uniform delivery tickets, email

         confirmations and/or Bloomberg messages. Regardless of the type or format of the trade

         confirms, all contain vital transaction information including: The Purchaser or Seller of

         the Security, Security Description, Trade Date, Settlement Date, Price, and Quantity.

19.      In reviewing the Tax Vouchers and supporting documentation, I observed that the share

         trade confirms’ trade date was prior to the ex-date for the security.

20.      Additionally, in reviewing the trade confirms for the non-Annex E Tax Vouchers, the

         settlement date listed on the confirms was on or before the record date for the security on

         all but one occasion.14

4.3.        SWIFT Messages Showing Receipt of Equity Shares

21.      For each of the 72 Tax Vouchers, I identified and reviewed SWIFT15 messages showing

         receipt of the shares described in the trade confirms discussed above. SWIFT is a secure

         encrypted interbank financial messaging service that allows financial institutions to

         transmit standardized financial transaction and account information between them.

         SWIFT message types are standardized under ISO 15022, an ISO standard for messaging

         used in transactions between financial institutions.16




14 The trade for the Dec-13 Coloplast A/S AIGPP settled one day after the record date.
15 SWIFT (Society for Worldwide Interbank Financial Telecommunication).
16 The International Organization for Standardization (ISO) is a worldwide federation of national standards bodies (ISO member

 bodies) https://www.iso20022.org/welcome-iso-15022.


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22.      In all but two instances, the equity trade confirmations are supported by a corresponding

         MT545 SWIFT showing receipt of the equity shares.17

               a. The SWIFT messages indicate that they were generated by BNP Paribas and SEB,

                   ED&F Man’s sub-custodians that maintained omnibus accounts for ED&F Man

                   on behalf of its clients. This information is contained in the business application

                   header of a SWIFT message, which gathers elements of ISO messages common to

                   most definitions in a single place.18 In SWIFT messages that appear as a

                   screenshot, this information appears under the field “App Hdr.”19 In SWIFT

                   messages that I reviewed in Microsoft Excel form, the same information is

                   generally distilled into the “Message_ID” field.20 The SWIFT message headers

                   that I reviewed either contain the code “PARBFRPP,” which is the SWIFT code

                   for BNP Paribas Securities Services, France, or the code “ESSEDKKK,” which is

                   the SWIFT code for SEB. ED&F Man’s Draft Schedule of Agreed Facts, which

                   Shahab Hashemi, who testified as ED&F’s corporate representative, testified

                   reflects ED&F Man’s corporate position, indicates that BNP Paribas and SEB

                   were the two sub-custodians used by ED&F to house Danish securities on behalf

                   of ED&F’s clients. 21




17 Message Type 545 SWIFT messages are generated upon the receipt of shares that settle “delivery versus payment,” or “DVP.”

  See https://www.iso20022.org/15022/uhb/finmt545 htm. The trades underlying the Apr-15 Maersk A/S transactions for AIGPP
  and KIPP settled via Message Type 544 SWIFT messages. Message Type 544 SWIFT messages are similar to Message Type
  545 SWIFTs in that they also record the receipt of shares, but those shares instead settle “free of payment,” or “FOP.” See
  https://www.iso20022.org/15022/uhb/finmt544.htm. In my experience, FOP settlement does not necessarily imply that
  payment was not made for the shares, but the payment may be made by alternative means.
18 See ISO 20022 Business Application Header Frequently Asked Questions, https://www.iso20022.org/sites/default/files/2020-

  10/BAH FAQ v11.pdf, at 4.
19 See, e.g., ED&F-00077543.
20 See, e.g., ED&F-00079254.
21 See Deposition Exhibit 4430 Draft Schedule of Agreed Facts ¶ 24; Hashemi Tr. 328:6-10.




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               b. Several of the trades did not contain individual SWIFT messages corresponding

                    one-to-one with the individual allocations of each Acer Plan within the overall

                    order placed by Acer on behalf of the Plans. However, the SWIFT messages did

                    correspond to both the trade confirmations provided to Acer and the total number

                    of shares bought wholesale on behalf of several Plans, and then allocated to those

                    Plans by ED&F.

23.       The combination of a SWIFT message from a third party (the sub-custodian) and a

          matching trade confirmation establishes that an equity purchase occurred and that the

          purchased shares were delivered.

4.4.         Plans’ Account Equity Statements

24.       For each of the transactions that I reviewed, I then checked that ED&F had made an

          appropriate booking of the transaction to the relevant Plan’s Account Equity Statement.

          In my experience, brokers use statements such as these Account Equity Statements to

          record assets owned by the client, even though the asset is maintained by the broker.

25.       Using the Account Equity Statement, I verified the respective Plan’s relevant security

          long holdings per the Trade Date Positions as of the beginning of the ex-dividend date for

          the security.

26.       The fact that the relevant Plan continued to hold a position in the relevant security as of

          the beginning of the ex-date signifies that the Plan had not liquidated its long equity

          position prior to the ex-date, and thus would not have sold the equity shares with the right

          to a dividend.22


22 Nine of Trade Packs’ Account Equity Statements show no long equity position in the relevant security; this is due to the fact

 that the Plans liquidated their holdings on the ex-date. See Mar-15 DSV A/S LABP; Mar-15 DSV A/S RABP; Sep-14 IC
 Company A/S NEWP; Mar-15 Novo Nordisk A/S GLP, LABP, and RABP; Feb-15 Novozymes A/S AIGPP; Mar-15 Pandora
 A/S LABP; Mar-15 TDC A/S LABP.


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4.5.        Documentation of Receipt of Dividends

27.      I also reviewed documentation that indicates that dividends were received on the

         purchased shares.

               a. The majority of the documentation that I reviewed—and all of the documentation

                   corresponding to trades that settled on or before the relevant record date for the

                   security—took the form of Message Type 566 SWIFTs. According to ISO 15022,

                   “this message is used to confirm to the account owner that securities and/or cash

                   have been credited/debited to an account as the result of a corporate action

                   event.”23 The type of corporate action event is indicated by the corporate action

                   event indicator (CAEV); all of the MT566 messages I reviewed are “DVCA”

                   which stands for Cash Dividend and is defined as “Distribution of cash to

                   shareholders, in proportion to their equity holding.”24

               b. For certain non-Annex E Tax Vouchers and, in some cases, the portion of the

                   Annex E – Schedule 2 Tax Vouchers for which ED&F Man maintains a dividend

                   payment was received, I reviewed email correspondence in which ED&F Man

                   was paid a market recall claim from the seller of the securities “due to cum

                   dividend trades settling after the dividend record date.”25 In each case where a

                   market recall claim was made, the equity transaction settled after the record date

                   for the relevant security.

               c. Except as otherwise stated above, I have not reviewed any documentation that

                   would indicate that ED&F Man received a dividend payment from a third party


23 See https://www.iso20022.org/15022/uhb/finmt566.htm.
24 See https://www.iso20022.org/15022/uhb/mt566-4-field-22f htm.
25 Non-Annex E: Dec-13 Coloplast A/S: AIGPP; Annex E-Schedule 2: Mar-14 TDC A/S: AIGPP, KLPP, and MAPP (MAPP

 Trade Pack does not include this market recall correspondence).


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                  for any portion of the shares listed on either Schedule 1 or Schedule 2 of Annex

                  E.

28.      The majority of the MT566 SWIFT messages that I reviewed did not correspond one-to-

         one with the dividend claimed on the relevant Tax Voucher. This makes sense, because

         the shares owned by the Plans were housed in ED&F Man’s omnibus accounts, which

         held shares on behalf of numerous different ED&F Man clients, including the Acer Plans.

         However, I did ensure that the MT566 SWIFT messages corresponded to the ED&F Man

         omnibus accounts in the correct number of total shares, which ED&F Man then allocated

         among the appropriate pension plan clients.

               a. First, each of the MT566 SWIFT messages originated from either BNP Paribas or

                  SEB, ED&F Man’s sub-custodians. The source of the SWIFT message is

                  identifiable through an examination of the “MESSAGE_ID” field, which begins

                  with either “OPARBFRPP”26 or “OESSEDKKK.”27 As explained above,

                  PARBFRPP and ESSEDKKK are the SWIFT codes for BNP Paribas and SEB,

                  respectively. And the prefix “O” in the Message ID field indicates that the

                  SWIFT is outgoing, i.e. from BNP Paribas or SEB to ED&F Man.

               b. Second, the SWIFT messages refer to the ED&F omnibus account at BNP Paribas

                  or SEB that is indicated on the relevant dividend reconciliation sheet.

                  i. For example, in the Trade Pack for American Investment Group of NY L.P.

                       Pension Plan’s (AIGPP) April 2014 Tryg A/S Tax Voucher, the dividend

                       reconciliation sheet at ED&F-00044551 refers to ED&F’s BNP Paribas Depot




26 See, e.g., ED&F-00044553.
27 See, e.g., ED&F-00042330.




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                       account with account number 778523F.28 The MT566 SWIFT message in that

                       same trade pack (at ED&F-00044553) contains a Tag 97A SAFE code29

                       ending in that same account number, 778523F.

                   ii. The same holds true for transactions in which SEB acted as sub-custodian.

                       For example, in the Trade Pack for American Investment Group of NY L.P.

                       Pension Plan’s (AIGPP) August 2014 TDC A/S Tax Voucher, the dividend

                       reconciliation sheet at ED&F-00042328 shows that shares were housed in

                       SEB Depot accounts with account numbers 05295142806 and 05295142814.30

                       The two MT566 SWIFT messages in that same trade pack (at ED&F-

                       00042330-31) contain SAFE codes that contain those same account numbers,

                       05295142806 and 05295142814.

               c. Third, the SWIFT messages refer to the same number of shares that the dividend

                   reconciliation sheets state are in the BNP or SEB Depot accounts to be allocated

                   among several ED&F Man clients.

                   i. For example, the above dividend reconciliation sheet at ED&F-00044551 and

                       the MT566 SWIFT message at ED&F-00044553 both refer to 73,000 shares

                       of the security for account number 778523F.31

                   ii. Likewise, the above dividend reconciliation sheet at ED&F-00042328 and the

                       SWIFT messages at ED&F-00042330-31 refer to 40,913,000 shares of the


28 See Deposition Exhibit 4152, Appendix 2, Draft Schedule of Agreed Facts ¶ 6 (identifying account number 778523F as ED&F

 account at BNP Paribas).
29 According to the ISO specification for MT566 SWIFT messages, Tag 97A SAFE entries denote the “Safekeeping Account,” or

 the “Account where financial instruments are maintained.” https://www.iso20022.org/15022/uhb/mt566-14-field-97a htm
30 See Deposition Exhibit 4152, Appendix 2, Draft Schedule of Agreed Facts ¶ 7 (identifying account numbers 05295142806 and

 05295142814 as ED&F accounts at SEB).
31 The SWIFT message contains reference to the number of shares at Tag 93B.
                                                                         According to the ISO specification for MT566
 SWIFT messages, Tag 93B CONB entries denote the “Confirmed Balance,” or the “Balance of securities that was confirmed.”
 See https://www.iso20022.org/data-field-dictionary (Only 93A appears on
 https://www.iso20022.org/15022/uhb/finmt566 htm).


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                        security for account number 05295142806 and 3,276,424 shares of the

                        security for account number 05295142814.

               d. In sum, where the equity transaction settled on or before to the record date and the

                   shares are not referenced in Annex E, an appropriate SWIFT message

                   corroborates the number of shares that the dividend reconciliation sheets claim

                   were housed in its sub-custodial omnibus accounts, and thus supports that the

                   pension plan received a portion of those dividends.

29.      Furthermore, I reviewed BNP and SEB internal ledgers32 accounting for the receipt of net

         dividends received by ED&F Man’s sub-custodians. I reconciled those ledgers with the

         MT566 SWIFT messages. The ledgers reflect various information including the total

         holdings, dividend rate, gross dividend amount, net dividend amount, dividend withheld,

         pay date, record date and in some cases, the ex-date. In all instances but one,33 the

         MT566 SWIFT messages corresponded to a ledger entry for the receipt of dividend

         payment in the BNP or SEB ledger, depending on which entity acted as sub-custodian for

         the transaction. I was able to match the total holdings amounts, dates and dividend values




32 ED&F-00603586.xls; SEB_00000095 xlsx; SEB_00000096 xlsx.
33 There are three MT566 SWIFT messages for dividend payments on TDC A/S shares acquired in August 2014, for a total of

 46,189,424 shares (40,913,000, 3,276,424, and 2,000,000, respectively). See ED&F-00042974-76. The payments on the
 40,913,000 and 3,276,424 share tranches reconcile with entries on the SEB ledgers, but the 2,000,000 share tranche does not
 have a concomitant ledger entry to accompany the MT566 SWIFT. The MT566 SWIFT message for the 2,000,000 shares
 differs from the other two SWIFT messages in that the posting date for the payment was August 29, 2014, as opposed to August
 as opposed to August 13, 2014. Id. In other words, the payment on the 2,000,000 shares was not received into SEB directly
 from the Danish issuer, as were the other two shares. Rather, email correspondence confirms that ED&F made a market claim
 on these 2,000,000 shares from ICBC, see ED&F-00312726, which was ultimately handled by the sub-custodians, SEB and
 BNY Mellon, see ED&F-00273945. SEB confirmed for ED&F that it had handled this market reclaim on the day before the
 posting date on the MT566 SWIFT message, that the payment was “credited [to ED&F’s] cash account” instead of sent into the
 omnibus securities account, and also that SEB would “confirm all processed and finalized market claims via MT566.” Id.
 Upon further investigation, this issue was created because a one-day settlement delay caused the shares to settle on August 13,
 2014, instead of on the record date of August 12, 2014 as expected. See ED&F-00042680-81, ED&F-00042688, ED&F-
 00312726 (noting that the market claim was being made “due to a cum dividend trade failing over the dividend record date”).
 These 2,000,000 shares were attributed on the dividend reconciliation sheets to “ICBC (due to incorrectly allocated stock),” and
 the reconciliation sheet noted that a market claim would be necessary. See ED&F-00042328.


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         directly to their respective SWIFT messages across the transactions that I analyzed that

         culminated in the issuance of an MT566 SWIFT.

30.      For a small number of transactions, a portion of the shares not described on Annex E

         settled into the sub-custodial accounts after the ex-dividend date, and therefore ED&F

         needed to make a market recall claim for some or all of the claimed dividend.

               a. For example, ED&F Man purchased from Mitsubishi UFJ Securities 500,000

                  shares of COLOB DC on behalf of the American Investment Group of NY L.P.

                  Pension Plan (AIGPP), which settled on December 11, 2013.34 However, the

                  record date for COLOB DC was December 10, 2013.35 Because these shares

                  would not have settled by the record date, the Danish issuer would have paid the

                  net dividend on the shares to Mitsubishi, the seller of the shares. ED&F’s clients

                  were entitled to the dividend because the trade date was December 5, 2013,36

                  which was prior to the ex-dividend date of December 6, 2013.37 Accordingly,

                  ED&F made a market recall claim from Mitsubishi on all of the shares that settled

                  after the record date. See ED&F-00044997-98. Mitsubishi confirmed in writing

                  that it made such a payment to ED&F. See ED&F-00044999.

4.6.       Booking or Crediting of Dividends to the Plans

31.      For every Tax Voucher produced by ED&F Man, regardless of whether the Tax Voucher

         was listed on Annex E, I identified a ShadowSuite screenshot that evidences the booking

         or crediting to the Plan of a “CASH DIV” entry. In all instances, the amount credited to

         the Plan matches the Amount Received as reported on the Tax Voucher.


34 See ED&F-00044988-89.
35 See ED&F-00044985.
36 See ED&F-00044988.
37 See ED&F-00044985.




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Respectfully submitted,




________________________          12/31/2021
                                  __________
Adam Warren                       Date




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                               Exhibit A - CV of Adam Warren

                                         Adam Warren

                                       Managing Director
Adam Warren is a Managing Director and part of the Securities and Finance Practice. Beginning
his career as a broker and trader, he has over 30 years of broad experience in the financial
services industry.

Mr. Warren specializes in financial services industry issues with an emphasis on financial,
commodity and complex derivative instruments; trading systems and processes; financial
markets and exchanges; technology and operations; and market, credit and operational risk. He
has assisted more than 15 securities, commodity and derivative exchanges as well as numerous
regulators, brokerage firms, clearing houses, hedge funds and investment management
companies globally. He has presented at industry and legal events and has authored articles on
risk management, commodity and financial markets.
Mr. Warren also provides court and arbitration testimony. He has testified in Federal Courts as
well as several state courts. Also, Adam has testified in Financial Industry Regulatory Authority
and other SRO arbitrations regarding issues such as: industry standards and practices, broker
poaching, high frequency trading, alleged spoofing, layering, front running, insider trading,
Regulation SHO and NMS violations, valuation and structure of auction rate securities and the
nature of the auction rate securities market, options trading and complex derivative valuation.
Mr. Warren has spent more than 30 years working with numerous firms on trading, valuation,
investments, operational, credit and market risk management issues for a wide variety of global
clients.
Adam holds an A.B. in History and an M.B.A. in Finance from the University of Chicago.
Education
               University of Chicago
               M.B.A. Finance, 1985

               University of Chicago
               A.B. U.S. History, 1982

Professional Experience
Following graduate school, Adam began his career as a broker and trader for financial and
derivative instruments. He has held both a Series 3 and Series 7 license and traded on most U.S.
and numerous foreign exchanges as well as over the counter (OTC) markets. He handled both
outside client accounts and proprietary firm trading.
Mr. Warren then transitioned to a risk management role within a major trading and clearing firm
where he was responsible for the development and implementation of sophisticated risk
management systems and technology. He led the development of a series of tools which
provided real-time, portfolio and position level analysis of risks. In addition, he consulted to


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outside firms regarding risk management and exposures. His clients included; major investment
banks, derivative clearing firms, pension managers, hedge funds and traders.
Since 1997 he has provided consulting services to the financial services industry in a number of
key areas. He has assisted in the development and integration of sophisticated risk management
systems and technology. He has helped several exchanges in mergers and the integration of their
compliance and risk management functions. He has advised on transition from human based
trading to electronic, algorithmic and computer-based trading systems. Mr. Warren has worked
with major commodity firms in the development of integrated trade and risk management
systems allowing them to accurately assess their exposure and manage billions of dollars in raw
materials. Working with auditors and company boards, he has provided assurance and guidance
regarding best practices for trading and managing energy, commodity and financial risk and
exposure.
Adam has been affirmed as an expert and has testified in numerous venues including: U.S.
Federal Courts, state courts, international courts, regulatory and SRO proceedings, AAA, JAMS
and other private arbitration proceedings. His clients include government regulators, major
exchanges and clearing houses, banks, broker dealers, investment managers, hedge funds,
commodity firms as well as high net worth individuals and proprietary trading groups. His areas
of testimony include: commodity, fixed income, and equities trading and damages, options,
futures, OTC instruments and structured products, Foreign Exchange trading, Crypto assets,
high-frequency-trading, spoofing, layering, and other forms of market manipulation, industry
standards and practices and broker poaching. He has also provided reports and testimony in
matters related to; insider trading, Reg SHO and Reg NMS
Professional Activities
Adam has spoken at numerous professional and industry events and has lectured at several
universities including: NYU, the Stern School of Business; Illinois Institute of Technology,
Stuart School of Business and University of Illinois, Urbana, Gies School of Business.
Publications
Articles and Presentations

“High Frequency Trading: Wall Street Revolt or Distorted Hype?”, Securities Docket, Webinar,
May 16, 2014
“Securities Enforcement and Litigation: 2009 Recap and 2010 Predictions”, CLE panel
presentation sponsored by the American Bar Association, White Collar Section, February 2010
“Current Litigation Issues Arising from the Financial Crisis”, presentation to the Chicago Bar
Association Membership, May 2009
“Recovery of Troubled Assets in the Current Financial Environment”, Aspatore Special Report:
New Developments in the Subprime Crisis, An Immediate Look at the Legal, Governmental, and
Economic Ramifications of the Changing Face of Subprime Lending, Thomas / Aspatore, 2009




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“Taking Responsibility for ARS Failures”, Aspatore Special Report: The Increase in Auction-
Rate Securities Lawsuits, an Immediate Look at the Legal and Governmental Ramification of the
Controversy Surrounding ARS Failures, Thomson / Aspatore, 2008
With Dwight Grant, “Auction-Rate Securities: Legal and Valuation Insights”, Securities
Litigation & Regulation, Andrews Litigation Reporter, Thomson / Reuters West Publications,
June 3, 2008, pp 3-5
“Understanding what Chief Compliance Officers Should Know About New Activities of
Traders”, IMS conference, Napa, California, October 3, 2007. Presentation to Chief Compliance
Officers and Legal Counsel for over 85 investment management brokerage firms. Discussed
new trends in trading and how they affect the role of the CCO.
“Reducing Transaction Costs Using Single-Stock Futures”, Transaction performance,
Institutional Investor Publications, Spring 2002, pp 102-105
“Future Technology Direction of the Futures and Options Industry”, Futures Industry
Association, Boca Raton, Florida, 19999. Round table participant with leaders of global
exchanges to discuss the direction of the Futures and Options industry along with trends in
technology. Article appeared in the May 1999 issue of Global Finance Magazine
Panel Discussion of Trends in the Futures and Options Industry, Futures Industry Association,
Chicago, Illinois, 1998
“Financial vs. Power Markets, Comparing Analysis and Trading”, Center for Business
Intelligence, Washington, DC, 1998. Reviewed the similarities and differences between
financial and power markets. Examined qualitative as well as quantitative factors involved with
both
“Designing a Risk Management System for Commodities”, National Grain and Feed Association
Annual Meeting, Orlando, Florida, 1998. Examined the key factors in designing risk
management systems and technologies to manage exposures in the grain markets
“Build versus Buy Decision in Risk Management Systems”, Institute for International Research,
Toronto, Canada, 1994. A discussion of the factors governing a build versus buy decision in the
creation of a modern risk management system. Factors addressed included: costs, flexibility,
maintenance, metrics and performance
Selected Testimony and Project Experience
Expert Reports and Court Testimony
United States District Court, Northern District of Illinois, Chicago, IL, Chicago Mercantile
Exchange Inc v. ICE Clear US Inc., ICE Clear Europe Limited and Intercontinental Exchange,
Inc.

Colorado District Court, Denver, CO, Gerald Rome, Securities Commissioner for the State of
Colorado v. Heath Bowen et al.




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United States District Court, Northern District of Illinois, Chicago, IL, United States Futures
Exchange LLC et al. v. Board of Trade of the City of Chicago, et al.

Province of Ontario, Ontario Court of Justice, London Courts, Palmerston Grain et al. Plaintiff v.
Royal Bank of Canada.

Province of Quebec, District of Montreal Courts, Vartan Toroussian et al. Plaintiff v. TD
Waterhouse Canada Inc. and National Bank Financial Inc.

United States District Court, Northern District of Illinois, Chicago, IL, United States v. Michael
Coscia

Supreme Court of the State of New York, UBS Securities LLC, et al. v. Highland Capital
Management, L.P.

United States District Court, Central District of California, Santa Ana, CA, United States v.
Douglas Decinces, et al.

United States District Court, Central District of California, Los Angeles, CA, United States v.
Toby Scammell

United States District Court, Northern District of Illinois, Chicago, IL, Securities and Exchange
Commission v. Rex C. Steffes et al.

District Court of Dallas County, Texas, 68th Judicial District, Highland Capital Management,
L.P. v. Patrick Daugherty

District Court of Dallas County, Texas, 95th Judicial District, Highland Capital Management,
L.P. v. RBC Capital Markets LLC, et al.

Supreme Court of the State of New York, County of New York, HYMF, Inc. v. Highland Capital
Management L.P., et al.

FINRA arbitration proceeding, Birmingham, AL, Westervelt Company v. Bank of America
Securities

Supreme Court of the State of New York, New York City, Piper Jaffray v. Nationwide Insurance

NASD arbitration proceeding, New York, NY, Timber Hill v. Merrill Lynch

NASD arbitration proceeding, Los Angeles, CA Vigilant Trading v. ABN AMRO

United States District Court, Minneapolis, Minnesota ADM v. Aon Risk ServicesO

Relevant Project Experience




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       Served as an expert to the largest U.S Futures exchange in a matter regarding the
        violation of that exchanges trademark of its margin methodology and system. Provided
        an expert report and testimony regarding the uniqueness of the SPAN system and its
        importance to risk management.

       Served as an expert to the largest U.S. Futures exchange against claims that it had
        engaged in non-competitive tactics against a foreign competitor. Provided detailed
        analysis of competitors bond futures contracts and trading platform which demonstrated
        inferiority of the offering. Judge found in client’s favor on summary judgement.

       Defended a major Canadian Bank against claims that it had improperly withdrawn
        support for the margin debts of a grain merchandising company. Testified as to the
        standards and practices in the futures markets and the methods used for hedging grains
        and other commodities. Client was found not liable, and no damages were awarded.

       Defended a Canadian Broker against claims it seduced a client into a highly dangerous
        options trading strategy. Analyzed several years of options trading activity and multiple
        accounts across U.S. and Canadian markets.

       Analyzed damages claimed by an investment management company regarding the
        alleged “poaching” of two account executives. Calculated damages based upon industry
        standards and assisted counsel in the negotiation of a fair settlement.

       Assisted several investment managers refuting SEC auditors claims they violated “best
        execution” requirements. Resulted in the complete dismissal of claims by the SEC and a
        finding of no violations.

       Assisted in the defense of a high frequency trader accused of “spoofing” in the futures
        marketplace in a highly publicized Federal Trial. Testified as to market practices and the
        structure and changes in the financial markets over the past 15 years.

       Assisted major Options Exchange in the development of regulatory and compliance tools
        to detect abusive trading patterns in stock and exchange listed options products. Led the
        engagement team and provided industry expertise which resulted in the development of a
        tool to identify and quantify potential violative trading activity.

       On behalf of the United States Department of Justice, prepared an expert report analyzing
        the defendant’s actions and trading activity involved dealing on Material, Non-Public
        Information and was indicative of a violation of Insider Trading laws. Demonstrated the
        defendant had tipped numerous family members and friends resulting in several million
        dollars in improper profits. Defendant was convicted on 8 counts.

       On behalf of the United States Department of Justice, prepared an expert report
        demonstrating the defendant’s actions and trading activity involved dealing on Material
        Non-Public Information and was indicative of Insider Trading. Following the issuance of
        the report the defendant pled guilty to one federal, felony count on insider trading.
        Defendant was incarcerated and placed on federal parole.




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       In an arbitration hearing, testified on behalf of a major bank regarding the structuring of a
        Variable Rate Demand Note. Demonstrated that the structure of the note saved the issuer
        several million dollars in interest expense relative to issuing a fixed rate obligation.

       Testified in state court in Texas regarding the damage done to an alternative investment
        management company by the theft of proprietary company information by a terminated,
        former employee. Demonstrated the value of this information to the court and showed
        that retention by former employee could cause irreparable harm.

       Testified in Federal Court on behalf of a group of individuals accused of violations of
        insider trading regulations. Was qualified by the court in a Daubert hearing as an expert.
        Client was completely exonerated in a jury trial.

       Testified in state court in Texas regarding brokerage industry standards and practices
        around a failed trade. Provided direct and cross examination testimony. Client won a
        complete victory with an award exceeding $25 million.

       Testified in a FINRA arbitration on behalf of a major broker/dealer, regarding the forced
        liquidation of a client account when the client failed to meet margin calls. Won a
        complete victory for the broker dealer.

       Defended a major hedge fund against claims it did not properly liquidate client positions
        following massive redemption requests.

       In an arbitration, testified as to the value of the minority interest held by a partner in a
        hedge fund. Panel accepted valuation and awarded the client a substantial judgment.

       Testified in a FINRA arbitration regarding the purchase of several hundred million
        dollars of structured action rate notes for the account of a large family office. Valued the
        securities and demonstrated how they were unsuitable investments for the family office.

       Assisted an investment manager in a NFA arbitration in a claim that the fund’s clearing
        firm had improperly liquidated its positions without issuing a margin call.

       Assisted major broker dealer in its defense against a claim that it had improperly sold
        SIV backed commercial paper to a client. Valued complex securities and assisted in
        developing strategy for successful mediation.

       On behalf of an issuer of municipal auction rate securities, evaluated the structure and
        cost of issuing auction rate versus fixed rate debt. Analysis required the multi-year
        valuation of the securities.

       Valued a series of auction rate securities to assist a major online firm in FINRA
        arbitration between itself and brokers. Evaluated the effect of a series of “max-rate
        waivers” on he valuation and trading of the issue.

       Valued and provided analysis of several auction rate securities purchased by a major firm
        regarding litigation between it and its brokers.



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       Valued a series of VRDOs on behalf of the issuing broker dealer in a state court matter.
        Demonstrated that the municipal issuers paid a lower overall rate on the security when
        compared against issuing an equivalent duration fixed rate security.

       Assisted a client in the analysis of a series of complex CDO and other asset-backed
        auction rate securities for valuation and possible state court proceedings. The analysis of
        the securities included several complex mortgage pools.

       Valued a series of hedge and private equity funds on behalf of a claim of wrongful
        discharge and monies owed to a former fund executive. Calculated carried interest and
        management fees for a series of funds and valued amounts due to the client. Funds
        consisted of numerous different asset classes and types.

       On behalf of Anton Valukas, the court-appointed examiner led the analysis of the
        mortgage underwriting, ABS and CDO securitization operations of Lehman Brothers.
        Reviewed the FX and commodity trading activities of the firm and assisted in preparation
        of final report.

       Following receipt of a Wells notice from an SRO, reviewed the equities trading activity of
        a global broker dealer to investigate possible Regulation SHO violations. Analyzed 20
        different segregation units to determine compliance with locate requirements and
        organizational policies and procedures. Prepared report and assisted in client’s response
        to the regulators. The SRO withdrew the investigation without fine or sanction.

       Examined the pricing methodology for a series of pass-through notes backed by several
        series of aircraft leases and commented on the pricing and commissions realized by the
        brokers involved in the transaction.

       Assisted in the analysis of a bankrupt major hedge fund to determine the net asset value of
        the fund’s investments. This review required a forensic analysis of the fund’s trades and
        valuation of its positions to assess the level of fraud perpetrated by the fund managers.

       Reviewed daily trading records of bankrupt hedge fund to evaluate and quantify fraudulent
        trading activity. Demonstrated that the trading manager had been falsifying performance
        records since inception of fund. Valued and recalculated the actual monthly NAV as well
        as actual management and incentive fees.

       Reviewed the global trading and hedging activities of the world’s second largest soybean
        trading and processing company. Annually reviewed trading operations in eight to ten
        locations globally. Recommended improvements to their risk management and hedging
        operations.

       Reviewed trading activity for a trading desk at a major broker-dealer which uncovered and
        quantified rogue trading activity. Instruments evaluated included both equities and equity
        derivatives. Analysis required valuing and evaluating the structure of complex cash and
        derivative trades.

       Evaluated the risk management and hedging activities of one of the largest metals
        producing and refining firms in Canada.


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       Developed strategy and vision for a major Asian commodity exchange allowing them to
        survive onslaught from competitors.

       On behalf of regulators, evaluated the trading activity of a large OTC broker-dealer to
        determine whether the firm engaged in “front running” of customer orders. Analyzed
        hundreds of orders and thousands of individual transactions to calculate the extent and
        dollar cost of the front running activity.

       Assisted a major West Coast hedge fund in the complete re-engineering of its trading
        infrastructure. Developed requirements and specifications covering a broad group of asset
        and derivative classes, wrote RFP, evaluated multiple vendors and assisted in the final
        selection and implementation of the selected products. System provided complete trading
        and monitoring functionality for multiple asset classes.

       On behalf of the independent board of directors, evaluated the derivative trading activity
        of a large asset management company / hedge fund to determine whether commission
        charges paid by the funds to an affiliated broker -dealer were appropriate. Determined the
        extent of overcharges and possible remediation scenarios. Final report resulted in
        substantial rebates to the funds and a significant lowering of commission rates. Report and
        actions were accepted by the SEC in settlement of an inquiry letter.

       Developed the jet fuel hedging strategy for one of the top 10 airlines in the United States.
        Evaluated fuel purchasing patterns, determined best hedge for both location and quantity
        of et fuel and established guidelines for optimal fuel hedges. Plan has allowed the company
        to remain profitable despite large increases in petroleum prices.

       Led the team which documented all Basel II policies and procedures for a major US trust
        bank. The team created an interactive, online system which was used by: auditors to
        monitor compliance, regulators to confirm and review the policies and processes and
        management to document, maintain, and train new employees about the bank’s Basel II
        program.

       Traded and brokered a large number of financial and non-financial asset classes on many
        exchanges worldwide.

       Led risk management system creation for one of the largest derivatives clearing firms in
        the world. System evaluated equities, debt instruments and a broad range of derivatives.

       Evaluated trading activity of broker-dealer to determine whether clients were receiving
        “best execution” of equity and fixed income trades.

       Developed methodology to evaluate Anti-Money Laundering capabilities for banks,
        brokers, and other financial services firms.

       Led the selection process for a number of risk management systems and assisted their
        installation and integration, for several firms including, asset managers, insurance
        companies, futures and options exchanges, derivative clearing firms and large broker-
        dealers.



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       Assisted major European stock, options, and futures exchanges in the integration of their
        risk management departments following mergers. Developed strategic plan for merging
        processes, technology and personnel to minimize impact of the merger and to maximize
        effectiveness of the departments.

       Assisted major Asian stock, options, and futures exchanges in the integration of their risk
        management departments following their merger.

       Recommended best practice policies to Asian securities regulators for review and audit of
        risk management departments of exchanges they regulated.

       Assisted the largest North American futures exchange in the development of an electronic
        trading platform which is now the largest electronic futures trading platform in the world.




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                              Exhibit B - Documents Considered

Publications

       Heath, David C., Jarrow, Robert A., Ex-Dividend Stock Price Behavior and Arbitrage
        Opportunities, The Journal of Business, Vol. 61, Number 1 (January 1988), University of
        Chicago Press
       Kalay, Avner, The Ex-Dividend Day Behavior of Stock Prices: A Re-Examination of the
        Clientele Effect, The Journal of Finance, Vol. 37, Number 4 (September 1982), Wiley
       Stern, David, The CumEx trading scandal: What are the implications for the UK, 5 St
        Andrew’s Hill, 5, December 2019
       Akhmedov, Umid, Jakob, Keith, The Ex-dividend Day: Action on and off the Danish
        Exchange, The Financial Review, Eastern Finance Association, No 45, 2010
       Weiss, David M., After the Trade is Made, Processing Securities Transactions, Revised
        Third Edition, 2006, Penguin Books, New York
       Zernov, Sergui, Leverage to Meet the Pension Promise, Global Risk Institute,
        https://globalriskinstitute.org/wp-content/uploads/2019/01/Leverage-to-meet-pension-
        promise.final_.pdf

Web and Internet Sources

       https://www.iso20022.org/welcome-iso-15022
       https://www.iso20022.org/data-field-dictionary
       https://www.iso20022.org/15022/uhb/finmt545.htm
       https://www.iso20022.org/15022/uhb/finmt566.htm
       https://www.iso20022.org/15022/uhb/mt566-4-field-22f.htm
       https://www.iso20022.org/15022/uhb/mt566-14-field-97a.htm
       https://www.iso20022.org/sites/default/files/2020-10/BAH_FAQ_v11.pdf

Depositions

       Deposition of Shahab Hashemi, October 5, 2021
       Deposition of Shahab Hashemi, October 8, 2021
       Deposition Exhibit 4152, Appendix 2, Draft Schedule of Agreed Facts


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       Deposition Exhibit 4430 Draft Schedule of Agreed Facts

Court Filings

       Amended Defence of ED&F Man Capital Markets Ltd., Annex E, SKAT v. ED&F Man
        Capital Markets Ltd. et al., Nos. CL-2018-000297, CL-2018000590 (Sept. 6, 2019)
       Amended Complaints filed by SKAT on April 22, 2020:
        o Skatteforvaltningen v. American Investment Group of New York, L.P. Pension Plan et
               al (1:18-cv-09841)
        o Skatteforvaltningen v. Kamco LP Profit Sharing Pension Plan et al      (1:18-cv-
               09837)
        o Skatteforvaltningen v. Kamco Investments Inc Pension Plan et al (1:18-cv-09836)
        o Skatteforvaltningen v. Linden Associates Defined Benefit Plan et al (1:18-cv-09838)
        o Skatteforvaltningen v. Moira Associates LLC 401K Plan et al (1:18-cv-09839)
        o Skatteforvaltningen v. The Goldstein Law Group PC 401(K) Profit Sharing Plan et al
               (1:18-cv-05053)
        o Skatteforvaltningen v. Newsong Fellowship Church 401K Plan et al 1:18-cv-10100
        o Skatteforvaltningen v. Riverside Associates Defined Benefit Plan et al 1:18-cv-09840
       Amended Third-Party Complaints filed by Third-Party Plaintiffs on November 29, 2021:
        o Acer Investment Group, LLC’s First Amended Third-Party Complaint and Jury
               Demand
        o Darren Wittwer’s First Amended Third-Party Complaint and Jury Demand
        o Robert Crema’s First Amended Third-Party Complaint and Jury Demand

Bates Numbered Documents

       Trade Packs
               o AIG CHR December 2014 ED&F-00026785.pdf
               o AIG COLOB December 2013 ED&F-00044985- ED&F-00045001.pdf
               o AIG COLOB December 2014 ED&F-00045535- ED&F-00045557.pdf
               o DWC COLOB December 2014 ED&F-00045678- ED&F-00045699.pdf
               o GOLDSTEIN COLOB December 2014 ED&F-00045782- ED&F-00045803.pdf
               o MOIRA COLOB December 2014 ED&F-00045740- ED&F-00045781.pdf


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               o DWC COLOB May 2014 ED&F-00045320- ED&F-00045362.pdf
               o KINV COLOB May 2014 ED&F-00045381- ED&F-00045422.pdf
               o LINDEN COLOB May 2014 ED&F-00045423- ED&F-00045465.pdf
               o RIVERSIDE COLOB May 2014 ED&F-00045466- ED&F-00045508.pdf
               o AIG DANSKE March 2014 ED&F-00045804- ED&F-00045867.pdf
               o DWC DANSKE March 2014 ED&F-00046267- ED&F-00046319.pdf
               o GOLDSTEIN DANSKE March 2014 ED&F-00046992- ED&F-00047044.pdf
               o KINV DANSKE March 2014 ED&F-00046423- ED&F-00046475.pdf
               o KLLP DANSKE March 2014 ED&F-00046476- ED&F-00046530.pdf
               o LINDEN DANSEK March 2014 ED&F-00046550- ED&F-00046602.pdf
               o MOIRA DANSKE March 2014 ED&F-00046603- ED&F-00046655.pdf
               o NEWSONG DANSKE March 2014 ED&F-00046656- ED&F-00046708.pdf
               o RIVERSIDE DANSKE March 2014 ED&F-00046709- ED&F-00046761.pdf
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               o RIVERSIDE DANSKE March 2015 ED&F-00047364- ED&F-00047395.pdf
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               o LINDEN DNORD April 2014 ED&F-00076734.pdf
               o RIVERSIDE DNORD April 2014 ED&F-00076758.pdf
               o LINDEN DSV March 2015 ED&F-00038269.pdf
               o RIVERSIDE DSV March 2015 ED&F-00038285.pdf
               o NEWSONG ICDC September 2014 ED&F-00076877.pdf
               o AIG MAERSK April 2014 ED&F-00077536.pdf
               o DWC MAERSK April 2014 ED&F-00077869.pdf
               o KLLP MAERSK April 2014 ED&F-00077994.pdf
               o MOIRA MAERSK April 2014 ED&F-00078020.pdf
               o AIG MAERSK April 2015 ED&F-00078083.pdf
               o KINV MAERSK April 2015 ED&F-00078478.pdf
               o AIG NOVOB March 2014 ED&F-00048728- ED&F-00048780.pdf
               o DWC NOVOB March 2014 ED&F-00049119- ED&F-00049170.pdf
               o GOLDSTEIN NOVOB March 2014 ED&F-00049714- ED&F-00049765.pdf



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               o KINV NOVOB March 2014 ED&F-00049257- ED&F-00049308.pdf
               o KLLP NOVOB March 2014 ED&F-00049309- ED&F-00049370.pdf
               o LINDEN NOVOB March 2014 ED&F-00049386- ED&F-00049437.pdf
               o MOIRA NOVOB March 2014 ED&F-00049438- ED&F-00049489.pdf
               o NOVOB March 2014 MT545 SWIFT Message ID 2713534 ED&F-00605996.xlsx
               o RIVERSIDE NOVOB March 2014 ED&F-00049490- ED&F-00049541.pdf
               o GOLDSTEIN NOVOB March 2015 ED&F-00049940- ED&F-00049974.pdf
               o LINDEN NOVOB March 2015 ED&F-00049870- ED&F-00049904.pdf
               o RIVERSIDE NOVOB March 2015 ED&F-00049905- ED&F-00049939.pdf
               o AIG NZYMB February 2015 ED&F-00076389.pdf
               o GOLDSTEIN NZYMB February 2015 ED&F-00076422.pdf
               o LINDEN NZYMB February 2015 ED&F-00076404.pdf
               o MOIRA NZYMB March 2014 ED&F-00076369.pdf
               o LINDEN PNDORA March 2015 ED&F-00043981-ED&F-00043996.pdf
               o PNDORA March 2015 MT545 SWIFT ED&F-00605995.xlsx
               o RIVERSIDE PNDORA March 2015 ED&F-00043997-ED&F-00044014.pdf
               o AIG TDC 2014 August ED&F-00042261-ED&F-00042333.pdf
               o DWC TDC August 2014 ED&F-00042604-ED&F-00042676.pdf
               o KINV TDC August 2014 ED&F-00042832-ED&F-00042904.pdf
               o KLLP TDC August 2014 ED&F-00042905-ED&F-00042977.pdf
               o MOIRA TDC August 2014 ED&F-00042978-ED&F-00043050.pdf
               o AIG TDC 2014 March ED&F-00040919-ED&F-00040990.pdf
               o DWC TDC March 2014 ED&F-00041009-ED&F-00041033.pdf
               o GOLDSTEIN TDC March 2014 ED&F-00041034-ED&F-00041058.pdf
               o KINV TDC March 2014 ED&F-00041083-ED&F-00041107.pdf
               o KLLP TDC 2014 March ED&F-00041108-ED&F-00041179.pdf
               o LINDEN TDC March 2014 ED&F-00041211-ED&F-00041235.pdf
               o MOIRA TDC March 2014 ED&F-00041236-ED&F-00041284.pdf
               o NEWSONG TDC March 2014 ED&F-00041285-ED&F-00041309.pdf
               o RIVERSIDE TDC March 2014 ED&F-00041310-ED&F-00041334.pdf
               o LINDEN TDC March 2015 ED&F-00043326-ED&F-00043347.pdf



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               o RIVERSIDE TDC March 2015 ED&F-00043382-ED&F-00043404.pdf
               o AIG TRYG April 2014 ED&F-00044535-ED&F-00044554.pdf
               o AIG TRYG April 2014 MT545 SWIFT ED&F-00605994.pdf
               o LINDEN TRYG April 2014 ED&F-00044825-ED&F-00044846.pdf
               o MOIRA TRYG April 2014 ED&F-00044847-ED&F-00044868.pdf
               o NEWSONG TRYG April 2014 ED&F-00044869-ED&F-00044890.pdf
               o RIVERSIDE TRYG April 2014 ED&F-00044891-ED&F-00044912.pdf
       Dividend Reconciliation Sheets
               o ED&F-00116595 (IC Sep 2014).xlsx
               o ED&F-00116606 (CHR Dec 2014).xlsx
               o ED&F-00116620 (DSV Mar 2015).xlsx
               o ED&F-00116630 (Novozyme Feb 2015).xlsx
               o ED&F-00116634 (Coloplast Dec 2014).xlsx
               o ED&F-00116641 (TDC AS Aug 2014).xlsx
               o ED&F-00116645 (Coloplast Dec 2013).xlsx
               o ED&F-00116646 (Pandora Mar 2015).xlsx
               o ED&F-00116647 (Danske Mar 2015).xlsx
               o ED&F-00116649 (Maersk Apr 2015).xlsx
               o ED&F-00116650 (Novo Mar 2015).xlsx
               o ED&F-00116652 (TDC Mar 2014).xlsx
               o ED&F-00116654 (Novozymes Mar 2014).xlsx
               o ED&F-00116655 (DS Norden Apr 2014).xlsx
               o ED&F-00116664 (Coloplast May 2014).xlsx
               o ED&F-00116666 (Tryg Apr 2014).xlsx
               o ED&F-00116670 (Danske Mar 2014).xlsx
               o ED&F-00116674 (Maersk Apr 2014).xlsx
               o ED&F-00116676 (Novo Mar 2014).xlsx
               o ED&F-00116678 (TDC Mar 2015).xlsx
       Message Type 566 Native Files
               o ED&F-00079254.xlsx
               o ED&F-00079327.xlsx


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               o ED&F-00079331.xlsx
               o ED&F-00079332.xlsx
               o ED&F-00079339.xlsx
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               o ED&F-00079365.xlsx
               o ED&F-00079955.xlsx
               o ED&F-00079962.xlsx
               o ED&F-00080010.xlsx
               o ED&F-00080176.xlsx
               o ED&F-00081047.xlsx
               o ED&F-00114751.xlsx
               o ED&F-00114819.xlsx
               o ED&F-00114829.xlsx
               o ED&F-00114830.xlsx
               o ED&F-00114834.xlsx
               o ED&F-00114847.xlsx
               o ED&F-00114851.xlsx
               o ED&F-00114855.xlsx
               o ED&F-00114856.xlsx
               o ED&F-00114857.xlsx
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               o ED&F-00114859.xlsx
               o ED&F-00114860.xlsx



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               o ED&F-00114862.xlsx
               o ED&F-00114863.xlsx
               o ED&F-00115507.xlsx
               o ED&F-00115670.xlsx
               o ED&F-00116545.xlsx
       Account Statements
               o ACER_00009444.pdf
               o ACER_00009452.pdf
               o ACER_00009460.pdf
               o ACER_00009465.pdf
               o ACER_00009479.pdf
               o ACER_00009489.pdf
               o ACER_00010585.pdf
               o ACER_00010594.pdf
               o ACER_00010604.pdf
       Other
               o ED&F Europe Risk Mandates (ED&F-00395919).pdf
               o ED&F-00603586.xls
               o SEB_00000095.xlsx
               o SEB_00000096.xlsx
               o ED&F-00273945.pdf
               o ED&F-00312726.pdf
               o ED&F-00047226- ED&F-00047260.pdf




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               Non‐Annex E

                                                                                                                                                         TAX VOUCHER




                 Date            Security                             Customer                        Ex Date     Record Date    Pay Date    Quantity    Gross Div Rate     Amount Received   WHT Suffered    Gross Dividend



                Dec‐13        Coloplast A/S        American Investment Group of NY LP Pension Plan   06/12/2013   10/12/2013    11/12/2013   500,000       DKK 7.00          DKK 2,555,000    DKK 945,000     DKK 3,500,000
                Mar‐14        Novozymes A/S                Moira Associates LLC 401K Plan            27/02/2014   03/03/2014    04/03/2014   700,000       DKK 2.50          DKK 1,277,500    DKK 472,500     DKK 1,750,000
                Apr‐14         Maersk A/S          American Investment Group of NY LP Pension Plan   01/04/2014   03/04/2014    04/04/2014    1,000      DKK 1,400.00        DKK 1,022,000    DKK 378,000     DKK 1,400,000
                Apr‐14           Tryg A/S          American Investment Group of NY LP Pension Plan   04/04/2014   08/04/2014    09/04/2014    50,000       DKK 27.00          DKK 985,500     DKK 364,500     DKK 1,350,000
                Aug‐14           TDC A/S           American Investment Group of NY LP Pension Plan   08/08/2014   12/08/2014    13/08/2014   3,400,000     DKK 1.50          DKK 3,723,000    DKK 1,377,000   DKK 5,100,000
                Aug‐14           TDC A/S                 DW Construction Inc Retirement Plan         08/08/2014   12/08/2014    13/08/2014   3,400,000     DKK 1.50          DKK 3,723,000    DKK 1,377,000   DKK 5,100,000
                Aug‐14           TDC A/S                 Kamco Investments Inc Pension Plan          08/08/2014   12/08/2014    13/08/2014   3,500,000     DKK 1.50          DKK 3,832,500    DKK 1,417,500   DKK 5,250,000
                Aug‐14           TDC A/S                  Kamco LP Profit Sharing Plan FBO           08/08/2014   12/08/2014    13/08/2014   2,777,424     DKK 1.50          DKK 3,041,279    DKK 1,124,857   DKK 4,166,136
                Aug‐14           TDC A/S                   Moira Associates LLC 401K Plan            08/08/2014   12/08/2014    13/08/2014   3,400,000     DKK 1.50          DKK 3,723,000    DKK 1,377,000   DKK 5,100,000
                Dec‐14           CHR A/S           American Investment Group of NY LP Pension Plan   28/11/2014   01/12/2014    12/02/2014   800,000       DKK 3.77          DKK 2,201,680    DKK 814,320     DKK 3,016,000
                Dec‐14        Coloplast A/S        American Investment Group of NY LP Pension Plan   05/12/2014   08/12/2014    09/12/2014   1,500,000     DKK 7.50          DKK 8,212,500    DKK 3,037,500   DKK 11,250,000
                Dec‐14        Coloplast A/S              DW Construction Inc Retirement Plan         05/12/2014   08/12/2014    09/12/2014   600,000       DKK 7.50          DKK 3,285,000    DKK 1,215,000   DKK 4,500,000
                Dec‐14        Coloplast A/S                  The Goldstein Law Group PC              05/12/2014   08/12/2014    09/12/2014   350,000       DKK 7.50          DKK 1,916,250    DKK 708,750     DKK 2,625,000
                Dec‐14        Coloplast A/S                Moira Associates LLC 401K Plan            05/12/2014   08/12/2014    09/12/2014   1,550,000     DKK 7.50          DKK 8,486,250    DKK 3,138,750   DKK 11,625,000
                Feb‐15        Novozymes A/S                  The Goldstein Law Group PC              26/02/2015   27/02/2015    02/03/2015   558,000       DKK 3.00          DKK 1,222,020    DKK 451,980     DKK 1,674,000
                Feb‐15        Novozymes A/S             Linden Associates Defined Benefit Plan       26/02/2015   27/02/2015    02/03/2015   557,000       DKK 3.00          DKK 1,219,830    DKK 451,170     DKK 1,671,000
                Mar‐15       Danske Bank A/S                 The Goldstein Law Group PC              19/03/2015   20/03/2015    23/03/2015   1,100,000     DKK 5.50          DKK 4,416,500    DKK 1,633,500   DKK 6,050,000
                Mar‐15       Danske Bank A/S            Linden Associates Defined Benefit Plan       19/03/2015   20/03/2015    23/03/2015   1,100,000     DKK 5.50          DKK 4,416,500    DKK 1,633,500   DKK 6,050,000
                Mar‐15       Danske Bank A/S           Riverside Associates Defined Benefit Plan     19/03/2015   20/03/2015    23/03/2015   1,200,000     DKK 5.50          DKK 4,818,000    DKK 1,782,000   DKK 6,600,000
                Mar‐15           DSV A/S                Linden Associates Defined Benefit Plan       13/03/2015   16/03/2015    17/03/2015   850,000       DKK 1.60           DKK 992,800     DKK 367,200     DKK 1,360,000
                Mar‐15           DSV A/S               Riverside Associates Defined Benefit Plan     13/03/2015   16/03/2015    17/03/2015   850,000       DKK 1.60           DKK 992,800     DKK 367,200     DKK 1,360,000
                Mar‐15       Novo Nordisk A/S                The Goldstein Law Group PC              20/03/2015   23/03/2015    24/03/2015   1,200,000     DKK 5.00          DKK 4,380,000    DKK 1,620,000   DKK 6,000,000
                Mar‐15       Novo Nordisk A/S           Linden Associates Defined Benefit Plan       20/03/2015   23/03/2015    24/03/2015   1,400,000     DKK 5.00          DKK 5,110,000    DKK 1,890,000   DKK 7,000,000
                Mar‐15       Novo Nordisk A/S          Riverside Associates Defined Benefit Plan     20/03/2015   23/03/2015    24/03/2015   1,400,000     DKK 5.00          DKK 5,110,000    DKK 1,890,000   DKK 7,000,000
                Mar‐15         Pandora A/S              Linden Associates Defined Benefit Plan       19/03/2015   20/03/2015    23/03/2015   400,950       DKK 9.00          DKK 2,634,242    DKK 974,309     DKK 3,608,550
                Mar‐15         Pandora A/S             Riverside Associates Defined Benefit Plan     19/03/2015   20/03/2015    23/03/2015   300,000       DKK 9.00          DKK 1,971,000    DKK 729,000     DKK 2,700,000
                Mar‐15           TDC A/S                Linden Associates Defined Benefit Plan       06/03/2015   09/03/2015    10/03/2015   1,615,200     DKK 1.00          DKK 1,179,096    DKK 436,104     DKK 1,615,200
                Mar‐15           TDC A/S               Riverside Associates Defined Benefit Plan     06/03/2015   09/03/2015    10/03/2015   2,000,000     DKK 1.00          DKK 1,460,000    DKK 540,000     DKK 2,000,000
                Apr‐15         Maersk A/S          American Investment Group of NY LP Pension Plan   31/03/2015   01/04/2015    07/04/2015    4,000      DKK 1,971.00        DKK 5,755,320    DKK 2,128,680   DKK 7,884,000
                Apr‐15         Maersk A/S                Kamco Investments Inc Pension Plan          31/03/2015   01/04/2015    07/04/2015    5,595      DKK 1,971.00        DKK 8,050,254    DKK 2,977,491   DKK 11,027,745




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               Non‐Annex E                                                                        TAX VOUCHER VS           TAX VOUCHER VS                        TAX VOUCHER VS


                                                                                                  TRADE REQUEST            TRADE CONFIRM(S)                  SWIFT TRADE CONFIRM(S)



                                                                                                                                     Settlement Date is                    Settlement Date is
                                                                                                  Request Date is    Trade Date is                         Trade Date is
                 Date            Security                          Customer                                                             on or before                          on or before
                                                                                                  before Ex Date    before Ex Date                        before Ex Date
                                                                                                                                        Record Date                           Record Date


                Dec‐13        Coloplast A/S     American Investment Group of NY LP Pension Plan        Yes               Yes                No                 Yes                No
                Mar‐14        Novozymes A/S             Moira Associates LLC 401K Plan                 Yes               Yes                Yes                Yes                Yes
                Apr‐14         Maersk A/S       American Investment Group of NY LP Pension Plan        Yes               Yes                Yes                Yes                Yes
                Apr‐14           Tryg A/S       American Investment Group of NY LP Pension Plan        Yes               Yes                Yes                Yes                Yes
                Aug‐14           TDC A/S        American Investment Group of NY LP Pension Plan        Yes               Yes                Yes                Yes                Yes
                Aug‐14           TDC A/S              DW Construction Inc Retirement Plan              Yes               Yes                Yes                Yes                Yes
                Aug‐14           TDC A/S              Kamco Investments Inc Pension Plan               Yes               Yes                Yes                Yes                Yes
                Aug‐14           TDC A/S               Kamco LP Profit Sharing Plan FBO                Yes               Yes                Yes                Yes                Yes
                Aug‐14           TDC A/S                Moira Associates LLC 401K Plan                 Yes               Yes                Yes                Yes                Yes
                Dec‐14           CHR A/S        American Investment Group of NY LP Pension Plan         No               Yes                Yes                Yes                Yes
                Dec‐14        Coloplast A/S     American Investment Group of NY LP Pension Plan        Yes               Yes                Yes                Yes                Yes
                Dec‐14        Coloplast A/S           DW Construction Inc Retirement Plan              Yes               Yes                Yes                Yes                Yes
                Dec‐14        Coloplast A/S               The Goldstein Law Group PC                   Yes               Yes                Yes                Yes                Yes
                Dec‐14        Coloplast A/S             Moira Associates LLC 401K Plan                 Yes               Yes                Yes                Yes                Yes
                Feb‐15        Novozymes A/S               The Goldstein Law Group PC                   Yes               Yes                Yes                Yes                Yes
                Feb‐15        Novozymes A/S          Linden Associates Defined Benefit Plan            Yes               Yes                Yes                Yes                Yes
                Mar‐15       Danske Bank A/S              The Goldstein Law Group PC                   Yes               Yes                Yes                Yes                Yes
                Mar‐15       Danske Bank A/S         Linden Associates Defined Benefit Plan            Yes               Yes                Yes                Yes                Yes
                Mar‐15       Danske Bank A/S        Riverside Associates Defined Benefit Plan          Yes               Yes                Yes                Yes                Yes
                Mar‐15           DSV A/S             Linden Associates Defined Benefit Plan            Yes               Yes                Yes                Yes                Yes
                Mar‐15           DSV A/S            Riverside Associates Defined Benefit Plan          Yes               Yes                Yes                Yes                Yes
                Mar‐15       Novo Nordisk A/S             The Goldstein Law Group PC                   Yes               Yes                Yes                Yes                Yes
                Mar‐15       Novo Nordisk A/S        Linden Associates Defined Benefit Plan            Yes               Yes                Yes                Yes                Yes
                Mar‐15       Novo Nordisk A/S       Riverside Associates Defined Benefit Plan          Yes               Yes                Yes                Yes                Yes
                Mar‐15         Pandora A/S           Linden Associates Defined Benefit Plan            Yes               Yes                Yes                Yes                Yes
                Mar‐15         Pandora A/S          Riverside Associates Defined Benefit Plan          Yes               Yes                Yes                Yes                Yes
                Mar‐15           TDC A/S             Linden Associates Defined Benefit Plan            Yes               Yes                Yes                Yes                Yes
                Mar‐15           TDC A/S            Riverside Associates Defined Benefit Plan          Yes               Yes                Yes                Yes                Yes
                Apr‐15         Maersk A/S       American Investment Group of NY LP Pension Plan        Yes               Yes                Yes                Yes                Yes
                Apr‐15         Maersk A/S             Kamco Investments Inc Pension Plan               Yes               Yes                Yes                Yes                Yes




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               Non‐Annex E                                                                        TAX VOUCHER VS                DIVIDEND RECONCILIATION VS               MT566 SWIFT VS    TAX VOUCHER VS

                                                                                                     DIVIDEND                                                            SUB‐CUSTODIAN        DIVIDEND
                                                                                                                                DIVIDEND DOCUMENTATION
                                                                                                  RECONCILIATION                                                             LEDGER           CREDITED


                                                                                                                    Outside Dividend
                                                                                                   Total Quantity                                                        Payment Amounts   Dividend Amount
                 Date            Security                          Customer                                             Payment        Quantity Match   Security Match
                                                                                                       Match                                                                 Match              Match
                                                                                                                     Documentation


                Dec‐13        Coloplast A/S     American Investment Group of NY LP Pension Plan         Yes          Market Recall          Yes              Yes              N/A                Yes
                Mar‐14        Novozymes A/S             Moira Associates LLC 401K Plan                  Yes             MT566               Yes              Yes               Yes               Yes
                Apr‐14         Maersk A/S       American Investment Group of NY LP Pension Plan         Yes             MT566               Yes              Yes               Yes               Yes
                Apr‐14           Tryg A/S       American Investment Group of NY LP Pension Plan         Yes             MT566               Yes              Yes               Yes               Yes
                Aug‐14           TDC A/S        American Investment Group of NY LP Pension Plan         Yes             MT566               Yes              Yes               Yes               Yes
                Aug‐14           TDC A/S              DW Construction Inc Retirement Plan               Yes             MT566               Yes              Yes               Yes               Yes
                Aug‐14           TDC A/S              Kamco Investments Inc Pension Plan                Yes             MT566               Yes              Yes               Yes               Yes
                Aug‐14           TDC A/S               Kamco LP Profit Sharing Plan FBO                 Yes             MT566               Yes              Yes               Yes               Yes
                Aug‐14           TDC A/S                Moira Associates LLC 401K Plan                  Yes             MT566               Yes              Yes               Yes               Yes
                Dec‐14           CHR A/S        American Investment Group of NY LP Pension Plan         Yes             MT566               Yes              Yes               Yes               Yes
                Dec‐14        Coloplast A/S     American Investment Group of NY LP Pension Plan         Yes             MT566               Yes              Yes               Yes               Yes
                Dec‐14        Coloplast A/S           DW Construction Inc Retirement Plan               Yes             MT566               Yes              Yes               Yes               Yes
                Dec‐14        Coloplast A/S               The Goldstein Law Group PC                    Yes             MT566               Yes              Yes               Yes               Yes
                Dec‐14        Coloplast A/S             Moira Associates LLC 401K Plan                  Yes             MT566               Yes              Yes               Yes               Yes
                Feb‐15        Novozymes A/S               The Goldstein Law Group PC                    Yes             MT566               Yes              Yes               Yes               Yes
                Feb‐15        Novozymes A/S          Linden Associates Defined Benefit Plan             Yes             MT566               Yes              Yes               Yes               Yes
                Mar‐15       Danske Bank A/S              The Goldstein Law Group PC                    Yes             MT566               Yes              Yes               Yes               Yes
                Mar‐15       Danske Bank A/S         Linden Associates Defined Benefit Plan             Yes             MT566               Yes              Yes               Yes               Yes
                Mar‐15       Danske Bank A/S        Riverside Associates Defined Benefit Plan           Yes             MT566               Yes              Yes               Yes               Yes
                Mar‐15           DSV A/S             Linden Associates Defined Benefit Plan             Yes             MT566               Yes              Yes               Yes               Yes
                Mar‐15           DSV A/S            Riverside Associates Defined Benefit Plan           Yes             MT566               Yes              Yes               Yes               Yes
                Mar‐15       Novo Nordisk A/S             The Goldstein Law Group PC                    Yes             MT566               Yes              Yes               Yes               Yes
                Mar‐15       Novo Nordisk A/S        Linden Associates Defined Benefit Plan             Yes             MT566               Yes              Yes               Yes               Yes
                Mar‐15       Novo Nordisk A/S       Riverside Associates Defined Benefit Plan           Yes             MT566               Yes              Yes               Yes               Yes
                Mar‐15         Pandora A/S           Linden Associates Defined Benefit Plan             Yes             MT566               Yes              Yes               Yes               Yes
                Mar‐15         Pandora A/S          Riverside Associates Defined Benefit Plan           Yes             MT566               Yes              Yes               Yes               Yes
                Mar‐15           TDC A/S             Linden Associates Defined Benefit Plan             Yes             MT566               Yes              Yes               Yes               Yes
                Mar‐15           TDC A/S            Riverside Associates Defined Benefit Plan           Yes             MT566               Yes              Yes               Yes               Yes
                Apr‐15         Maersk A/S       American Investment Group of NY LP Pension Plan         Yes             MT566               No               Yes               Yes               Yes
                Apr‐15         Maersk A/S             Kamco Investments Inc Pension Plan                Yes             MT566               No               Yes               Yes               Yes




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                 Date           Security                             Customer                        Ex Date     Record Date    Pay Date    Quantity    Gross Div Rate     Amount Received   WHT Suffered    Gross Dividend



                Mar‐14      Danske Bank A/S             DW Construction Inc Retirement Plan         19/03/2014   21/03/2014    24/03/2014   2,000,000     DKK 2.00          DKK 2,920,000    DKK 1,080,000   DKK 4,000,000
                Mar‐14      Danske Bank A/S                 The Goldstein Law Group PC              19/03/2014   21/03/2014    24/03/2014   2,000,000     DKK 2.00          DKK 2,920,000    DKK 1,080,000   DKK 4,000,000
                Mar‐14      Danske Bank A/S             Kamco Investments Inc Pension Plan          19/03/2014   21/03/2014    24/03/2014   2,000,000     DKK 2.00          DKK 2,920,000    DKK 1,080,000   DKK 4,000,000
                Mar‐14      Danske Bank A/S              Kamco LP Profit Sharing Plan FBO           19/03/2014   21/03/2014    24/03/2014   7,375,000     DKK 2.00         DKK 10,767,500    DKK 3,982,500   DKK 14,750,000
                Mar‐14      Danske Bank A/S            Linden Associates Defined Benefit Plan       19/03/2014   21/03/2014    24/03/2014   2,000,000     DKK 2.00          DKK 2,920,000    DKK 1,080,000   DKK 4,000,000
                Mar‐14      Danske Bank A/S               Moira Associates LLC 401K Plan            19/03/2014   21/03/2014    24/03/2014   2,000,000     DKK 2.00          DKK 2,920,000    DKK 1,080,000   DKK 4,000,000
                Mar‐14      Danske Bank A/S            Newsong Fellowship Church 401K Plan          19/03/2014   21/03/2014    24/03/2014   2,000,000     DKK 2.00          DKK 2,920,000    DKK 1,080,000   DKK 4,000,000
                Mar‐14      Danske Bank A/S           Riverside Associates Defined Benefit Plan     19/03/2014   21/03/2014    24/03/2014   2,000,000     DKK 2.00          DKK 2,920,000    DKK 1,080,000   DKK 4,000,000
                Mar‐14      Novo Nordisk A/S      American Investment Group of NY LP Pension Plan   21/03/2014   25/03/2014    26/03/2014   3,500,000     DKK 4.50         DKK 11,497,500    DKK 4,252,500   DKK 15,750,000
                Mar‐14      Novo Nordisk A/S            DW Construction Inc Retirement Plan         21/03/2014   25/03/2014    26/03/2014   3,850,000     DKK 4.50         DKK 12,647,250    DKK 4,677,750   DKK 17,325,000
                Mar‐14      Novo Nordisk A/S                The Goldstein Law Group PC              21/03/2014   25/03/2014    26/03/2014   2,000,000     DKK 4.50          DKK 6,570,000    DKK 2,430,000   DKK 9,000,000
                Mar‐14      Novo Nordisk A/S            Kamco Investments Inc Pension Plan          21/03/2014   25/03/2014    26/03/2014   2,000,000     DKK 4.50          DKK 6,570,000    DKK 2,430,000   DKK 9,000,000
                Mar‐14      Novo Nordisk A/S           Linden Associates Defined Benefit Plan       21/03/2014   25/03/2014    26/03/2014   2,000,000     DKK 4.50          DKK 6,570,000    DKK 2,430,000   DKK 9,000,000
                Mar‐14      Novo Nordisk A/S              Moira Associates LLC 401K Plan            21/03/2014   25/03/2014    26/03/2014   3,150,000     DKK 4.50         DKK 10,347,750    DKK 3,827,250   DKK 14,175,000
                Mar‐14      Novo Nordisk A/S          Riverside Associates Defined Benefit Plan     21/03/2014   25/03/2014    26/03/2014   2,000,000     DKK 4.50          DKK 6,570,000    DKK 2,430,000   DKK 9,000,000
                Mar‐14          TDC A/S                 DW Construction Inc Retirement Plan         07/03/2014   11/03/2014    12/03/2014   3,300,000     DKK 2.20          DKK 5,299,800    DKK 1,960,200   DKK 7,260,000
                Mar‐14          TDC A/S                     The Goldstein Law Group PC              07/03/2014   11/03/2014    12/03/2014   2,200,000     DKK 2.20          DKK 3,533,200    DKK 1,306,800   DKK 4,840,000
                Mar‐14          TDC A/S                 Kamco Investments Inc Pension Plan          07/03/2014   11/03/2014    12/03/2014   2,000,000     DKK 2.20          DKK 3,212,000    DKK 1,188,000   DKK 4,400,000
                Mar‐14          TDC A/S                Linden Associates Defined Benefit Plan       07/03/2014   11/03/2014    12/03/2014   2,150,000     DKK 2.20          DKK 3,452,900    DKK 1,277,100   DKK 4,730,000
                Mar‐14          TDC A/S                Newsong Fellowship Church 401K Plan          07/03/2014   11/03/2014    12/03/2014   2,500,000     DKK 2.20          DKK 4,015,000    DKK 1,485,000   DKK 5,500,000
                Mar‐14          TDC A/S               Riverside Associates Defined Benefit Plan     07/03/2014   11/03/2014    12/03/2014   2,150,000     DKK 2.20          DKK 3,452,900    DKK 1,277,100   DKK 4,730,000
                 Apr‐14     D/S Norden A/S                  The Goldstein Law Group PC              24/04/2014   28/04/2014    29/04/2014   215,000       DKK 5.00           DKK 784,750     DKK 290,250     DKK 1,075,000
                 Apr‐14     D/S Norden A/S             Linden Associates Defined Benefit Plan       24/04/2014   28/04/2014    29/04/2014   322,500       DKK 5.00          DKK 1,177,125    DKK 435,375     DKK 1,612,500
                 Apr‐14     D/S Norden A/S            Riverside Associates Defined Benefit Plan     24/04/2014   28/04/2014    29/04/2014   322,500       DKK 5.00          DKK 1,177,125    DKK 435,375     DKK 1,612,500
                 Apr‐14       Maersk A/S                DW Construction Inc Retirement Plan         01/04/2014   03/04/2014    04/04/2014    5,000      DKK 1,400.00        DKK 5,110,000    DKK 1,890,000   DKK 7,000,000
                 Apr‐14       Maersk A/S                 Kamco LP Profit Sharing Plan FBO           01/04/2014   03/04/2014    04/04/2014    5,000      DKK 1,400.00        DKK 5,110,000    DKK 1,890,000   DKK 7,000,000
                 Apr‐14       Maersk A/S                  Moira Associates LLC 401K Plan            01/04/2014   03/04/2014    04/04/2014    5,000      DKK 1,400.00        DKK 5,110,000    DKK 1,890,000   DKK 7,000,000
                 Apr‐14         Tryg A/S               Linden Associates Defined Benefit Plan       04/04/2014   08/04/2014    09/04/2014   175,000       DKK 27.00         DKK 3,449,250    DKK 1,275,750   DKK 4,725,000
                 Apr‐14         Tryg A/S                  Moira Associates LLC 401K Plan            04/04/2014   08/04/2014    09/04/2014   225,000       DKK 27.00         DKK 4,434,750    DKK 1,640,250   DKK 6,075,000
                 Apr‐14         Tryg A/S               Newsong Fellowship Church 401K Plan          04/04/2014   08/04/2014    09/04/2014   225,000       DKK 27.00         DKK 4,434,750    DKK 1,640,250   DKK 6,075,000
                 Apr‐14         Tryg A/S              Riverside Associates Defined Benefit Plan     04/04/2014   08/04/2014    09/04/2014   175,000       DKK 27.00         DKK 3,449,250    DKK 1,275,750   DKK 4,725,000
                May‐14       Coloplast A/S              DW Construction Inc Retirement Plan         09/05/2014   13/05/2014    14/05/2014   1,300,000     DKK 4.00          DKK 3,796,000    DKK 1,404,000   DKK 5,200,000
                May‐14       Coloplast A/S              Kamco Investments Inc Pension Plan          09/05/2014   13/05/2014    14/05/2014   1,300,000     DKK 4.00          DKK 3,796,000    DKK 1,404,000   DKK 5,200,000
                May‐14       Coloplast A/S             Linden Associates Defined Benefit Plan       09/05/2014   13/05/2014    14/05/2014   850,000       DKK 4.00          DKK 2,482,000    DKK 918,000     DKK 3,400,000
                May‐14       Coloplast A/S            Riverside Associates Defined Benefit Plan     09/05/2014   13/05/2014    14/05/2014   850,000       DKK 4.00          DKK 2,482,000    DKK 918,000     DKK 3,400,000
                 Sep‐14     IC Company A/S             Newsong Fellowship Church 401K Plan          25/09/2014   29/09/2014    30/09/2014    50,000       DKK 3.00           DKK 109,500      DKK 40,500      DKK 150,000
                 Feb‐15      Novozymes A/S        American Investment Group of NY LP Pension Plan   26/02/2015   27/02/2015    02/03/2015   750,000       DKK 3.00          DKK 1,642,500    DKK 607,500     DKK 2,250,000




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                                                                                                 TRADE REQUEST            TRADE CONFIRM(S)                  SWIFT TRADE CONFIRM(S)



                                                                                                                                    Settlement Date is                    Settlement Date is
                                                                                                 Request Date is    Trade Date is                         Trade Date is
                 Date           Security                          Customer                                                             on or before                          on or before
                                                                                                 before Ex Date    before Ex Date                        before Ex Date
                                                                                                                                       Record Date                           Record Date


                Mar‐14      Danske Bank A/S          DW Construction Inc Retirement Plan              Yes               Yes                No                 Yes                No
                Mar‐14      Danske Bank A/S              The Goldstein Law Group PC                   Yes               Yes                No                 Yes                No
                Mar‐14      Danske Bank A/S          Kamco Investments Inc Pension Plan               Yes               Yes                No                 Yes                No
                Mar‐14      Danske Bank A/S           Kamco LP Profit Sharing Plan FBO                Yes               Yes                No                 Yes                No
                Mar‐14      Danske Bank A/S         Linden Associates Defined Benefit Plan            Yes               Yes                No                 Yes                No
                Mar‐14      Danske Bank A/S            Moira Associates LLC 401K Plan                 Yes               Yes                No                 Yes                No
                Mar‐14      Danske Bank A/S         Newsong Fellowship Church 401K Plan               Yes               Yes                No                 Yes                No
                Mar‐14      Danske Bank A/S        Riverside Associates Defined Benefit Plan          Yes               Yes                No                 Yes                No
                Mar‐14      Novo Nordisk A/S   American Investment Group of NY LP Pension Plan        Yes               Yes                No                 Yes                No
                Mar‐14      Novo Nordisk A/S         DW Construction Inc Retirement Plan              Yes               Yes                No                 Yes                No
                Mar‐14      Novo Nordisk A/S             The Goldstein Law Group PC                   Yes               Yes                No                 Yes                No
                Mar‐14      Novo Nordisk A/S         Kamco Investments Inc Pension Plan               Yes               Yes                No                 Yes                No
                Mar‐14      Novo Nordisk A/S        Linden Associates Defined Benefit Plan            Yes               Yes                No                 Yes                No
                Mar‐14      Novo Nordisk A/S           Moira Associates LLC 401K Plan                 Yes               Yes                No                 Yes                No
                Mar‐14      Novo Nordisk A/S       Riverside Associates Defined Benefit Plan          Yes               Yes                No                 Yes                No
                Mar‐14          TDC A/S              DW Construction Inc Retirement Plan              Yes               Yes                No                 Yes                No
                Mar‐14          TDC A/S                  The Goldstein Law Group PC                   Yes               Yes                No                 Yes                No
                Mar‐14          TDC A/S              Kamco Investments Inc Pension Plan               Yes               Yes                No                 Yes                No
                Mar‐14          TDC A/S             Linden Associates Defined Benefit Plan            Yes               Yes                No                 Yes                No
                Mar‐14          TDC A/S             Newsong Fellowship Church 401K Plan               Yes               Yes                No                 Yes                No
                Mar‐14          TDC A/S            Riverside Associates Defined Benefit Plan          Yes               Yes                No                 Yes                No
                 Apr‐14     D/S Norden A/S               The Goldstein Law Group PC                   Yes               Yes                No                 Yes                No
                 Apr‐14     D/S Norden A/S          Linden Associates Defined Benefit Plan            Yes               Yes                No                 Yes                No
                 Apr‐14     D/S Norden A/S         Riverside Associates Defined Benefit Plan          Yes               Yes                No                 Yes                No
                 Apr‐14       Maersk A/S             DW Construction Inc Retirement Plan              Yes               Yes                No                 Yes                No
                 Apr‐14       Maersk A/S              Kamco LP Profit Sharing Plan FBO                Yes               Yes                No                 Yes                No
                 Apr‐14       Maersk A/S               Moira Associates LLC 401K Plan                 Yes               Yes                No                 Yes                No
                 Apr‐14         Tryg A/S            Linden Associates Defined Benefit Plan            Yes               Yes                No                 Yes                No
                 Apr‐14         Tryg A/S               Moira Associates LLC 401K Plan                 Yes               Yes                No                 Yes                No
                 Apr‐14         Tryg A/S            Newsong Fellowship Church 401K Plan               Yes               Yes                No                 Yes                No
                 Apr‐14         Tryg A/S           Riverside Associates Defined Benefit Plan          Yes               Yes                No                 Yes                No
                May‐14       Coloplast A/S           DW Construction Inc Retirement Plan              Yes               Yes                No                 Yes                No
                May‐14       Coloplast A/S           Kamco Investments Inc Pension Plan               Yes               Yes                No                 Yes                No
                May‐14       Coloplast A/S          Linden Associates Defined Benefit Plan            Yes               Yes                No                 Yes                No
                May‐14       Coloplast A/S         Riverside Associates Defined Benefit Plan          Yes               Yes                No                 Yes                No
                 Sep‐14     IC Company A/S          Newsong Fellowship Church 401K Plan               Yes               Yes                No                 Yes                No
                 Feb‐15      Novozymes A/S     American Investment Group of NY LP Pension Plan        Yes               Yes                No                 Yes                No




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                                                                                                    DIVIDEND                                                            SUB‐CUSTODIAN        DIVIDEND
                                                                                                                               DIVIDEND DOCUMENTATION
                                                                                                 RECONCILIATION                                                             LEDGER           CREDITED


                                                                                                                   Outside Dividend
                                                                                                  Total Quantity                                                        Payment Amounts   Dividend Amount
                 Date           Security                          Customer                                             Payment        Quantity Match   Security Match
                                                                                                      Match                                                                 Match              Match
                                                                                                                    Documentation


                Mar‐14      Danske Bank A/S          DW Construction Inc Retirement Plan               Yes              None               Yes              Yes              N/A                Yes
                Mar‐14      Danske Bank A/S              The Goldstein Law Group PC                    Yes              None               Yes              Yes              N/A                Yes
                Mar‐14      Danske Bank A/S          Kamco Investments Inc Pension Plan                Yes              None               Yes              Yes              N/A                Yes
                Mar‐14      Danske Bank A/S           Kamco LP Profit Sharing Plan FBO                 Yes              None               Yes              Yes              N/A                Yes
                Mar‐14      Danske Bank A/S         Linden Associates Defined Benefit Plan             Yes              None               Yes              Yes              N/A                Yes
                Mar‐14      Danske Bank A/S            Moira Associates LLC 401K Plan                  Yes              None               Yes              Yes              N/A                Yes
                Mar‐14      Danske Bank A/S         Newsong Fellowship Church 401K Plan                Yes              None               Yes              Yes              N/A                Yes
                Mar‐14      Danske Bank A/S        Riverside Associates Defined Benefit Plan           Yes              None               Yes              Yes              N/A                Yes
                Mar‐14      Novo Nordisk A/S   American Investment Group of NY LP Pension Plan         Yes              None               Yes              Yes              N/A                Yes
                Mar‐14      Novo Nordisk A/S         DW Construction Inc Retirement Plan               Yes              None               Yes              Yes              N/A                Yes
                Mar‐14      Novo Nordisk A/S             The Goldstein Law Group PC                    Yes              None               Yes              Yes              N/A                Yes
                Mar‐14      Novo Nordisk A/S         Kamco Investments Inc Pension Plan                Yes              None               Yes              Yes              N/A                Yes
                Mar‐14      Novo Nordisk A/S        Linden Associates Defined Benefit Plan             Yes              None               Yes              Yes              N/A                Yes
                Mar‐14      Novo Nordisk A/S           Moira Associates LLC 401K Plan                  Yes              None               Yes              Yes              N/A                Yes
                Mar‐14      Novo Nordisk A/S       Riverside Associates Defined Benefit Plan           Yes              None               Yes              Yes              N/A                Yes
                Mar‐14          TDC A/S              DW Construction Inc Retirement Plan               Yes              None               Yes              Yes               N/A               Yes
                Mar‐14          TDC A/S                  The Goldstein Law Group PC                    Yes              None               Yes              Yes              N/A                Yes
                Mar‐14          TDC A/S              Kamco Investments Inc Pension Plan                Yes              None               Yes              Yes              N/A                Yes
                Mar‐14          TDC A/S             Linden Associates Defined Benefit Plan             Yes              None               Yes              Yes              N/A                Yes
                Mar‐14          TDC A/S             Newsong Fellowship Church 401K Plan                Yes              None               Yes              Yes              N/A                Yes
                Mar‐14          TDC A/S            Riverside Associates Defined Benefit Plan           Yes              None               Yes              Yes              N/A                Yes
                 Apr‐14     D/S Norden A/S               The Goldstein Law Group PC                    Yes              None               Yes              Yes              N/A                Yes
                 Apr‐14     D/S Norden A/S          Linden Associates Defined Benefit Plan             Yes              None               Yes              Yes              N/A                Yes
                 Apr‐14     D/S Norden A/S         Riverside Associates Defined Benefit Plan           Yes              None               Yes              Yes              N/A                Yes
                 Apr‐14       Maersk A/S             DW Construction Inc Retirement Plan               Yes              None               Yes              Yes              N/A                Yes
                 Apr‐14       Maersk A/S              Kamco LP Profit Sharing Plan FBO                 Yes              None               Yes              Yes              N/A                Yes
                 Apr‐14       Maersk A/S               Moira Associates LLC 401K Plan                  Yes              None               Yes              Yes              N/A                Yes
                 Apr‐14         Tryg A/S            Linden Associates Defined Benefit Plan             Yes              None               Yes              Yes              N/A                Yes
                 Apr‐14         Tryg A/S               Moira Associates LLC 401K Plan                  Yes              None               Yes              Yes              N/A                Yes
                 Apr‐14         Tryg A/S            Newsong Fellowship Church 401K Plan                Yes              None               Yes              Yes              N/A                Yes
                 Apr‐14         Tryg A/S           Riverside Associates Defined Benefit Plan           Yes              None               Yes              Yes              N/A                Yes
                May‐14       Coloplast A/S           DW Construction Inc Retirement Plan               Yes              None               Yes              Yes              N/A                Yes
                May‐14       Coloplast A/S           Kamco Investments Inc Pension Plan                Yes              None               Yes              Yes              N/A                Yes
                May‐14       Coloplast A/S          Linden Associates Defined Benefit Plan             Yes              None               Yes              Yes              N/A                Yes
                May‐14       Coloplast A/S         Riverside Associates Defined Benefit Plan           Yes              None               Yes              Yes              N/A                Yes
                 Sep‐14     IC Company A/S          Newsong Fellowship Church 401K Plan                Yes              None               Yes              Yes              N/A                Yes
                 Feb‐15      Novozymes A/S     American Investment Group of NY LP Pension Plan         Yes              None               Yes              Yes              N/A                Yes




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                 Date           Security                            Customer                         Ex Date     Record Date    Pay Date    Quantity    Gross Div Rate     Amount Received   WHT Suffered    Gross Dividend



                Mar‐14      Danske Bank A/S       American Investment Group of NY LP Pension Plan   19/03/2014   21/03/2014    24/03/2014   7,750,000     DKK 2.00         DKK 11,315,000    DKK 4,185,000   DKK 15,500,000
                Mar‐14      Novo Nordisk A/S             Kamco LP Profit Sharing Plan FBO           21/03/2014   25/03/2014    26/03/2014   4,400,000     DKK 4.50         DKK 14,454,000    DKK 5,346,000   DKK 19,800,000
                Mar‐14          TDC A/S           American Investment Group of NY LP Pension Plan   07/03/2014   11/03/2014    12/03/2014   5,000,000     DKK 2.20          DKK 8,030,000    DKK 2,970,000   DKK 11,000,000
                Mar‐14          TDC A/S                  Kamco LP Profit Sharing Plan FBO           07/03/2014   11/03/2014    12/03/2014   5,000,000     DKK 2.20          DKK 8,030,000    DKK 2,970,000   DKK 11,000,000
                Mar‐14          TDC A/S                   Moira Associates LLC 401K Plan            07/03/2014   11/03/2014    12/03/2014   6,000,000     DKK 2.20          DKK 9,636,000    DKK 3,564,000   DKK 13,200,000




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                                                                                                 TRADE REQUEST            TRADE CONFIRM(S)                   SWIFT TRADE CONFIRM(S)



                                                                                                                                    Settlement Date is                    Settlement Date is
                                                                                                 Request Date is    Trade Date is                         Trade Date is
                 Date           Security                         Customer                                                              on or before                          on or before
                                                                                                 before Ex Date    before Ex Date                        before Ex Date
                                                                                                                                       Record Date                           Record Date


                Mar‐14      Danske Bank A/S    American Investment Group of NY LP Pension Plan        Yes               Yes              Yes/No               Yes              Yes/No
                Mar‐14      Novo Nordisk A/S          Kamco LP Profit Sharing Plan FBO                Yes               Yes              Yes/No               Yes              Yes/No
                Mar‐14          TDC A/S        American Investment Group of NY LP Pension Plan        Yes               Yes              Yes/No               Yes              Yes/No
                Mar‐14          TDC A/S               Kamco LP Profit Sharing Plan FBO                Yes               Yes              Yes/No               Yes              Yes/No
                Mar‐14          TDC A/S                Moira Associates LLC 401K Plan                 Yes               Yes                No                 Yes                No




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                                                                                                    DIVIDEND                                                            SUB‐CUSTODIAN        DIVIDEND
                                                                                                                                 DIVIDEND DOCUMENTATION
                                                                                                 RECONCILIATION                                                             LEDGER           CREDITED


                                                                                                                   Outside Dividend
                                                                                                  Total Quantity                                                        Payment Amounts   Dividend Amount
                 Date           Security                         Customer                                              Payment        Quantity Match   Security Match
                                                                                                      Match                                                                 Match              Match
                                                                                                                    Documentation


                Mar‐14      Danske Bank A/S    American Investment Group of NY LP Pension Plan         Yes             MT566               Yes              Yes               Yes               Yes
                Mar‐14      Novo Nordisk A/S          Kamco LP Profit Sharing Plan FBO                 Yes             MT566               Yes              Yes               Yes               Yes
                                                                                                                       MT566;
                Mar‐14          TDC A/S        American Investment Group of NY LP Pension Plan         Yes                                 Yes              Yes               Yes               Yes
                                                                                                                     Market Recall
                                                                                                                       MT566;
                Mar‐14          TDC A/S               Kamco LP Profit Sharing Plan FBO                 Yes                                 Yes              Yes               Yes               Yes
                                                                                                                     Market Recall
                                                                                                                       MT566;
                Mar‐14          TDC A/S                Moira Associates LLC 401K Plan                  Yes                                 Yes              Yes               Yes               Yes
                                                                                                                     Market Recall




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NON-ANNEX E

December-2013                   Coloplast A/S
American Investment Group of NY LP Pension Plan (AIGPP)

1. No MT566 SWIFT message for dividend events.
2. Dividend received in form of claim to seller “due to cum dividend trades settling after the
    dividend record date” (ED&F-00044997-00045000):
        a. 4,800,000 shares were bought by ED&F from Mitsubishi UFJ Securities with Trade
               Date of 05/12/2013 and Settlement Date 11/12/2013 (ED&F-00044998), settling after
               the Record Date of 10/12/2013 (ED&F-00044985)
        b. Because the trade (Trade Date of 05/12/2013) took place before the Ex-Date,
               Mitsubishi paid the claim to ED&F in the net amount of DKK 24,528,000, the gross
               dividend minus the 27% withholding (4,800,000 shares x DKK7.00 x 73%) (ED&F-
               00044999)
        c. Of DKK 24,528,000, DKK 2,555,000 was credited to the Plan for its 500,000 shares
               (500,000 shares x DKK7.00 x 73%) (ED&F-00045001)

August-2014                     TDC A/S
Kamco LP Profit Sharing Plan FBO (KLLP)

3. Trade Request states “KLPP KAMCO0‐LPPRO 2,901,000” (ED&F-00042907)
4. Trade pack includes two equity confirmations: 2,901,000 (ED&F-00042917) and 3,400,000
    (ED&F-00042916); the latter trade confirm appears to have been generated in error.
5. According to the Tax Voucher (ED&F-00042905), KLLP’s holding quantity was 2,777,424.
    This does not match with KLPP’s Account Equity statement (ED&F-00042969-71) that
    shows holdings of 2,901,000 shares, a difference of 123,576.
6. Dividend Reconciliation shows KLLP’s Agent Position of 2,777,424 and Securities Lending
    Position of 123,576 (ED&F-00042972-73)




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December-2014                 CHR A/S
American Investment Group of NY LP Pension Plan (AIGPP)

7. Per Trade Request: “AIGPP was interested in liquidity on CHR DC ISIN DK0060227585 up
    to 1000000 shares” (ED&F-00026786); actual number of shares received: 800,000 (ED&F-
    00026788)
8. Trade Request appears to have been made the same day as the Ex-Date, Friday, November
    28, 2014. According to email from Stacey Kaminer (ED&F-00026786), the email request
    was supposed to have gone out the previous day, Thursday, November 27, 2014
    (Thanksgiving 2014 in United States) but “was overlooked as a possible trading day.”

March-2015                    Danske Bank A/S
The Goldstein Law Group PC (GLP)

9. 3 individual SWIFT messages showing receipt of equity shares adding up to total 4,500,000
    (ED&F-00047419-21; 1,000,000 x 2; 2,500,000 x 1); No individual message for Plan’s
    respective receipt of shares: 1,100,000 of 3,400,000 shares to be split among 3 plans. The
    remaining 1,100,000 shares went to a different client of ED&F Man, GSA Trading (Canada)
    CPP as evidenced in its respective Trade Pack: trade request and confirmation at ED&F-
    00047235-37.

Linden Associates Defined Benefit Plan (LABP)

10. 3 individual SWIFT messages showing receipt of equity shares adding up to total 4,500,000
    (ED&F-00047355-57; 1,000,000 x 2; 2,500,000 x 1); No individual message for Plan’s
    respective receipt of shares: 1,100,000 of 3,400,000 shares to be split among 3 plans. The
    remaining 1,100,000 shares went to a different client of ED&F Man, GSA Trading (Canada)
    CPP, as evidenced in its respective Trade Pack: trade request and confirmation at ED&F-
    00047235-37.




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Riverside Associates Defined Benefit Plan (RABP)

11. 3 individual SWIFT messages showing receipt of equity shares adding up to total 4,500,000
    (ED&F-00047387-89; 1,000,000 x 2; 2,500,000 x 1); No individual message for Plan’s
    respective receipt of shares: 1,200,000 of 3,400,000 shares to be split among 3 plans. The
    remaining 1,100,000 shares went to GSA Trading (Canada) CPP as evidenced in its
    respective Trade Pack: trade request and confirmation at ED&F-00047235-37.

March-2015               Novo Nordisk A/S
The Goldstein Law Group PC (GLP)

12. 4 individual SWIFT messages showing receipt of equity shares adding up to total 4,000,000
    (ED&F-00049965-68; 1,000,000 x 4); No individual message for Plan’s respective receipt of
    shares: 1,200,000 of 4,000,000 shares.

Linden Associates Defined Benefit Plan (LABP)

13. 4 individual SWIFT messages showing receipt of equity shares adding up to total 4,000,000
    (ED&F-00049895-98; 1,000,000 x 4); No individual message for Plan’s respective receipt of
    shares: 1,400,000 of 4,000,000 shares.

Riverside Associates Defined Benefit Plan (RABP)

14. 4 individual SWIFT messages showing receipt of equity shares adding up to total 4,000,000
    (ED&F-00049930-33; 1,000,000 x 4); No individual message for Plan’s respective receipt of
    shares: 1,400,000 of 4,000,000 shares.

April-2015                    Maersk A/S
American Investment Group of NY LP Pension Plan (AIGPP)

15. Per Trade Request “AIGPP and KLPP would both be interested in purchasing 5K shares
    each” (ED&F-00078091); actual number of shares received: 4,000 (ED&F-00078094)




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16. According to the Dividend Reconciliation (ED&F-00078110) the total shares held at 2 SEB
    Depots 136,114 shares (126,314+9,800) represent the total number of shares eligible for
    dividend payment, however according to the SWIFT MT566 message (ED&F-00078111) in
    the Trade Pack, the total number of shares is 126,314, a difference of 9,800 shares. This is
    GSA Trading’s long holding of 9,800 shares per the Dividend Reconciliation.
17. The native SWIFT MT566 message (ED&F-00079955) includes 2 messages for total number
    of shares of 141,864 (126,314+15,550).
18. Only SWIFT Message Type 544: Receive Free of Payment Confirmation – shows 4,000
    shares, originally from Maple Securities (MAPAGB2L) (ED&F-00078101, ED&F-
    00078104)

Kamco Investments Inc Pension Plan (KIPP)

19. Per Trade Request “AIGPP and KLPP would both be interested in purchasing 5K shares
    each” (ED&F-00078486); actual number of shares received: 5,595 (ED&F-00078489)
20. According to the Dividend Reconciliation (ED&F-00078505) the total shares held at 2 SEB
    Depots 136,114 shares (126,314+9,800) represent the total number of shares eligible for
    dividend payment, however according to the SWIFT MT566 message (ED&F-00078506) in
    the Trade Pack, the total number of shares is 126,314, a difference of 9,800 shares, which is
    GSA Trading’s long holding of 9,800 shares.
21. Only SWIFT Message Type 544: Receive Free of Payment Confirmation – shows total of
    5,595 shares (3,570+2,025), originally from Jefferies (JEFFGB2X). (ED&F-00078497-98,
    ED&F-00078500-01)




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ANNEX E – Schedule 1

March-2014                    Novo Nordisk A/S
American Investment Group of NY LP Pension Plan (AIGPP)

22. 15 individual SWIFT messages showing receipt of equity shares adding up to total
    22,000,000 (ED&F-00048759-73; 1,500,000 x 14; 1,000,000 x 1); No individual message for
    Plan’s respective receipt of shares: 3,500,000 of 22,000,000 shares

DW Construction Inc Retirement Plan (DWCPP)

23. 15 individual SWIFT messages showing receipt of equity shares adding up to total
    22,000,000 (ED&F-00049150-64; 1,500,000 x 14; 1,000,000 x 1); No individual message for
    Plan’s respective receipt of shares: 3,850,000 of 22,000,000 shares

The Goldstein Law Group PC (GLP)

24. 15 individual SWIFT messages showing receipt of equity shares adding up to total
    22,000,000 (ED&F-00049745-59; 1,500,000 x 14; 1,000,000 x 1); No individual message for
    Plan’s respective receipt of shares: 2,000,000 of 22,000,000 shares.

Kamco Investments Inc Pension Plan (KIPP)

25. 15 individual SWIFT messages showing receipt of equity shares adding up to total
    22,000,000 (ED&F-00049288-302; 1,500,000 x 14; 1,000,000 x 1); No individual message
    for Plan’s respective receipt of shares: 2,000,000 of 22,000,000 shares

Linden Associates Defined Benefit Plan (LABP)

26. 15 individual SWIFT messages showing receipt of equity shares adding up to total
    22,000,000 (ED&F-00049417-31; 1,500,000 x 14; 1,000,000 x 1); No individual message for
    Plan’s respective receipt of shares: 2,000,000 of 22,000,000 shares.




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Moira Associates LLC 401K Plan (MAPP)

27. 15 individual SWIFT messages showing receipt of equity shares adding up to total
    22,000,000 (ED&F-00049469-83; 1,500,000 x 14; 1,000,000 x 1); No individual message for
    Plan’s respective receipt of shares: 3,150,000 of 22,000,000 shares

Riverside Associates Defined Benefit Plan (RABP)

28. 15 individual SWIFT messages showing receipt of equity shares adding up to total
    22,000,000 (ED&F-00049521-35; 1,500,000 x 14; 1,000,000 x 1); No individual message for
    Plan’s respective receipt of shares: 2,000,000 of 22,000,000 shares

April-2014              D/S Norden
The Goldstein Law Group PC (GLP)

29. 2 individual SWIFT messages showing receipt of equity shares adding up to total 860,000
    (ED&F-00076844-45; 325,000 x 1; 535,000 x 1); No individual message for Plan’s
    respective receipt of shares: 215,000 of 860,000 shares

Linden Associates Defined Benefit Plan (LABP)

30. 2 individual SWIFT messages showing receipt of equity shares adding up to total 860,000
    (ED&F-00076751-52; 325,000 x 1; 535,000 x 1); No individual message for Plan’s
    respective receipt of shares: 322,500 of 860,000 shares

Riverside Associates Defined Benefit Plan (RABP)

31. 2 individual SWIFT messages showing receipt of equity shares adding up to total 860,000
    (ED&F-00076775-76; 325,000 x 1; 535,000 x 1); No individual message for Plan’s
    respective receipt of shares: 322,500 of 860,000 shares




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April-2014                    Tryg A/S
Linden Associates Defined Benefit Plan (LABP)

32. 2 individual SWIFT messages showing receipt of equity shares adding up to total 800,000
    (ED&F-099944839-40; 400,000 x 2); No individual message for Plan’s respective receipt of
    shares: 175,000 of 800,000 shares

Moira Associates LLC 401K Plan (MAPP)

33. 2 individual SWIFT messages showing receipt of equity shares adding up to total 800,000
    (ED&F-00044861-62; 400,000 x 2); No individual message for Plan’s respective receipt of
    shares: 225,000 of 800,000 shares

Newsong Fellowship Church 401K Plan (NEWP)

34. 2 individual SWIFT messages showing receipt of equity shares adding up to total 800,000
    (ED&F-00044883-84; 400,000 x 2); No individual message for Plan’s respective receipt of
    shares: 225,000 of 800,000 shares

Riverside Associates Defined Benefit Plan (RABP)

35. 2 individual SWIFT messages showing receipt of equity shares adding up to total 800,000
    (ED&F-00044905-06; 400,000 x 2); No individual message for Plan’s respective receipt of
    shares: 175,000 of 800,000 shares

May-2014               Coloplast A/S
DW Construction Inc Retirement Plan (DWCPP)

36. 6 individual SWIFT messages showing receipt of equity shares adding up to total 4,300,000
    (ED&F-00045350-55; 750,000 x 5; 5,500,000 x 1); No individual message for Plan’s
    respective receipt of shares: 1,300,000 of 4,300,000 shares




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Kamco Investments Inc Pension Plan (KIPP)

37. 6 individual SWIFT messages showing receipt of equity shares adding up to total 4,300,000
    (ED&F-00045411-16; 750,000 x 5; 5,500,000 x 1); No individual message for Plan’s
    respective receipt of shares: 1,300,000 of 4,300,000 shares

Linden Associates Defined Benefit Plan (LABP)

38. Per Trade Request “accounts are interested in purchasing a total of 4,800,000 shares of
    COLOB” with “LABP LINDEN‐ADBPL 1,100,000”; actual number of shares received:
    850,000 (ED&F-00045424-25)
39. Email trade confirm states “We found liquidity for 4.3m shares”, 500,000 less than Trade
    Request, revising Linden’s allotment to “LABP LINDEN‐ADBPL 850,000” (ED&F-
    00045424-25)
40. Uniform trade confirms total 1,100,000 shares, an overstatement of Linden’s allotment by
    250,000 shares: 750,000 + 350,000 (ED&F-00045436-38)
41. 6 individual SWIFT messages showing receipt of equity shares adding up to total 4,300,000
    (ED&F-00045453-58; 750,000 x 5; 5,500,000 x 1); No individual message for Plan’s
    respective receipt of shares: 850,000 of 4,300,000 shares

Riverside Associates Defined Benefit Plan (RABP)

42. Per Trade Request “accounts are interested in purchasing a total of 4,800,000 shares of
    COLOB” with “RABP RIVERS‐ASSOC 1,100,000” ; actual number of shares received:
    850,000 (ED&F-00045467-68)
43. Email trade confirm states “We found liquidity for 4.3m shares”, 500,000 less than Trade
    Request, revising Riverside’s allocation to “RABP RIVERS‐ASSOC 850,000” (ED&F-
    00045467-68)
44. Uniform trade confirms total 1,100,000 shares, an overstatement of Riverside’s allocation by
    250,000 shares: 750,000 + 350,000 (ED&F-00045484-86)
45. 6 individual SWIFT messages showing receipt of equity shares adding up to total 4,300,000
    (ED&F-00045496-501; 750,000 x 5; 5,500,000 x 1); No individual message for Plan’s
    respective receipt of shares: 850,000 of 4,300,000 shares

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September-2014                       ICDC A/S
Newsong Fellowship Church 401K Plan (NEWP)

46. According to the Account Equity Statement Pending Trades Section, the Plan bought 50,000
    shares 1 day before the Ex-Date and sold those 50,000 shares on the Ex-Date (ED&F-
    00076913-15). Also there appears to be an error in Dividend Reconciliation CCY field,
    should be DKK not EUR. (see Dividend Reconciliation, ED&F-00076916)

February-2015                Novozymes A/S
American Investment Group of NY LP Pension Plan (AIGPP)

47. Per email trade request from Stacey Kaminer “The Accounts are looking to purchase up to
    4.6 million shares of NZYMB DC” no specific plan referenced in the original request. Once
    Oliver Bottomley replies to Stacey “Liquidity found up to 750K”, Stacey replies “That works
    for the following account: AMERIC-INVGR” (ED&F-00076390).
48. According to the Account Equity Statement Pending Trades Section, the Plan bought
    750,000 shares 1 day before the Ex-Date (ED&F-00076399-401).

The Goldstein Law Group PC (GLP)

49. Per email trade request from Stacey Kaminer “The Accounts would like to purchase up to
    1,115,000 shares of NZYMB” no specific plan referenced in the original request. Once
    Oliver Bottomley replies “You buy 1,115,000”, Stacey replies “allocate as follows: 558,000
    GOLDST-LAWGP 557,000 NSOONGF-401PL” (ED&F-00076424-25).

Linden Associates Defined Benefit Plan (LABP)

50. Per email trade request from Stacey Kaminer “The Accounts would like to purchase up to
    1,115,000 shares of NZYMB” no specific plan referenced in the original request. Once
    Oliver Bottomley replies “You buy 1,115,000”, Stacey replies “allocate as follows: 558,000
    GOLDST-LAWGP 557,000 NSOONGF-401PL” (ED&F-00076406-07).




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ANNEX E – Schedule 2

March-2014                         Danske Bank A/S
American Investment Group of NY LP Pension Plan (AIGPP)

51. According to the Dividend Reconciliation (ED&F-00045863) the total shares held at BNP
    Paribas Depot (23,125,000 shares) represents the total number of shares eligible for dividend
    payment. The SWIFT MT566 message (ED&F-00045865) in the Trade Pack appears to
    reflect only AIG’s portion of dividend payment for 3,000,000 shares. The native SWIFT
    MT566 message (ED&F-00081047) has individual messages that add up 23,125,000 shares,
    matching the shares held at BNP Paribas Depot reported on the Dividend Reconciliation.
52. Annex E: Schedule 2 reported overpayment of DKK 2,565,000 appears to be related to the
    two trades totaling 4,750,000 shares1 (2,500,000+ 2,250,000) that did not settle until 3 days
    after the Record Date (24/03/2014 vs 21/3/2014, see Trade Confirm ED&F-00045814-16).
    This appears to match the portion of the Plan’s Long Holdings that is not in BNP Paribas
    Depot. (See Dividend Reconciliation Statement ED&F-00045863)

March-2014                         Novo Nordisk A/S
Kamco LP Profit Sharing Plan FBO (KLLP)

53. Plan received a total of 4,400,000 shares reflected in the SWIFT messages as follows:
        a. 1 individual SWIFT message showing receipt of 900,000 equity shares (ED&F-
               00049348)
        b. 15 individual SWIFT messages showing receipt of equity shares adding up to total
               22,000,000 (ED&F-00049349-63; 1,500,000 x 14; 1,000,000 x 1); No individual
               message for Plan’s respective receipt of shares: 3,500,000 of 22,000,000 shares
54. Annex E: Schedule 2 reported overpayment of DKK 4,252,500 appears to be related to the
    3,500,000 shares2 trade that did not settle until 1 day after the Record Date (26/3/2014 vs
    25/3/2014, see Trade Confirm ED&F-00049330). This appears to match the portion of the

1 Amount of Overpayment DKK 2,565,000 divided by Gross Div Rate DKK 2.00 divided by WHT 27%.

2 Amount of Overpayment DKK 4,252,500 divided by Gross Div Rate DKK 4.50 divided by WHT 27%.




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    Plan’s Long Holdings not in BNP Paribas Depot. (See Dividend Reconciliation Statement
    ED&F-00049367-68, ED&F Man Professional Trading (Dubai) Limited).

March-2014                         TDC A/S
American Investment Group of NY LP Pension Plan (AIGPP)

55. Annex E: Schedule 2 reported overpayment of DKK 1,188,000 appears to be related to a
    2,000,000 share3 trade that did not settle until 1 day after the Record Date (12/3/2014 vs
    11/3/2014, see ED&F-00040939-41).
56. MT566: Of AIGPP’s March 2014 reported holdings of 5,000,000 shares, 1,000,000 shares
    were part of the BNP depot holding and the dividend was received via MT566.
57. Market recall claim: Of AIGPP’s March 2014 reported holdings of 5,000,000 shares,
    2,000,000 shares were part of the 6,000,000 shares acquired wholesale by ED&F from
    Lutetia Capital as evidenced by 3 Trade Confirmations.
        a. According to the Lutetia Capital trade confirmations, the acquisition of 6,000,000
               shares had Trade Date of 06/03/2014 and Settlement Date 12/03/2014, settling after
               the Record Date of 11/03/2014 (ED&F-00040972-75)
        b. Because the Trade Date was before the Ex-Date, the dividend received by ED&F was
               in form of claim to the seller, Lutetia Capital, “due to cum dividend trades settling
               after the dividend record date” (ED&F-00040986-87)
        c. Lutetia Capital paid the claim to ED&F in the net amount of DKK 9,636,000, the
               gross dividend minus the 27% withholding (6,000,000 shares x DKK 2.20 x 73%)
               (ED&F-00040986); DKK 3,212,000 was credited to AIGPP.
        d. The Plan was credited DKK 8,030,000 for its total 5,000,000 shares via 3 journal
               entries: DKK 1,606,000, DKK 3,212,000, and DKK 3,212,000, for the 1,000,000,
               2,000,000 and 2,000,000 lots, respectively. (ED&F-00040988-90)




3 Amount of Overpayment DKK 1,188,000 divided by Gross Div Rate DKK 2.20 divided by WHT 27%.




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Kamco LP Profit Sharing Plan FBO (KLLP)

58. Annex E: Schedule 2 reported overpayment of DKK 1,188,000 appears to be related to a
    2,000,000 share4 trade that did not settle until 1 day after the Record Date (12/3/2014 vs
    11/3/2014, see ED&F-00041130, 33-34).
59. MT566: Of KLLP’s total March 2014 reported holdings of 5,000,000 shares, 1,000,000
    shares were part of the BNP depot holding and the dividend was received via MT566.
60. Market recall claim: Of KLLP’s total March 2014 reported holdings of 5,000,00 shares,
    2,000,000 shares were part of the 6,000,000 shares acquired wholesale by ED&F from
    Lutetia Capital as evidenced by 3 Trade Confirmations.
        a. According to the Lutetia Capital trade confirmations, the acquisition of 6,000,000
               shares had Trade Date of 06/03/2014 and Settlement Date 12/03/2014, settling after
               the Record Date of 11/03/2014 (ED&F-00041161-64)
        b. Because the Trade Date was before the Ex-Date, the dividend received by ED&F was
               in form of claim to the seller, Lutetia Capital, “due to cum dividend trades settling
               after the dividend record date” (ED&F-00041175-76)
        c. Lutetia Capital paid the claim to ED&F in the net amount of DKK 9,636,000, the
               gross dividend minus the 27% withholding (6,000,000 shares x DKK 2.20 x 73%)
               (ED&F-00041175); DKK 3,212,000 was credited to KLLP.
        d. The Plan was credited DKK 8,030,000 for its total 5,000,000 shares via 3 journal
               entries: DKK 1,606,000, DKK 3,212,000, and DKK 3,212,000, for the 1,000,000,
               2,000,000 and 2,000,000 lots, respectively. (ED&F-00041177-79)

Moira Associates LLC 401K Plan (MAPP)

61. Annex E: Schedule 2 reported overpayment of DKK 2,376,000 appears to be related to a
    4,000,000 share trade that did not settle until after the Record Date (12/3/2014 vs 11/3/2014,
    see ED&F-00041246).




4 Amount of Overpayment DKK 1,188,000 divided by Gross Div Rate DKK 2.20 divided by WHT 27%.




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62. Market recall claim: Of MAPP’s total March 2014 reported holdings of 6,000,000
    shares,2,000,000 shares were part of the 6,000,000 shares acquired wholesale by ED&F from
    Lutetia Capital as evidenced by 3 Trade Confirmations.
         a. According to the Lutetia Capital trade confirmations, the acquisition of 6,000,000
               shares had Trade Date of 06/03/2014 and Settlement Date 12/03/2014, settling after
               the Record Date of 11/03/2014 (ED&F-00041271-74)
         b. Because the Trade Date was before the Ex-Date, the dividend received by ED&F was
               in form of claim to the seller, Lutetia Capital, “due to cum dividend trades settling
               after the dividend record date” (ED&F-00040986-875)
         c. Lutetia Capital paid the claim to ED&F in the net amount of DKK 9,636,000, the
               gross dividend minus the 27% withholding (6,000,000 shares x DKK 2.20 x 73%)
               (ED&F-00040986)
63. The Plan was credited DKK 9,636,000 for its total 6,000,000 shares via two journal entries:
    DKK 6,424,000 and DKK 3,212,000, for the 4,000,000 and 2,000,000 lots, respectively.
    (ED&F-00041283-84)




5 Email RE: DK0060228559 - TDC A/S - P/D 12/03/2014 - Dividend due to ED&F Man Capital Markets from Lutetia

 Patrimoine does not appear in the Moira TDC March 2014 trade pack, herein referencing document found in American
 Investment Group of NY LP Pension Plan TDC A/S March-2014 trade pack (AIG TDC 2014 March ED&F-00040919-ED&F-
 00040990.pdf)


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